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                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA



In re:                                                                           Case No. 17-01130-jw

         Connie Lynette Hardwick,                                                Chapter 11

         Debtor.


In re:                                                                           Case No. 17-01132-jw

         Double J Farms, LLC,                                                    Chapter 11

         Debtor.

CONNIE LYNETTE HARDWICK AND DOUBLE J FARMS, LLC
 AMENDED PLAN OF REORGANIZATION DATED, November
                    21, 2017

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The Plan represents a legally binding arrangement and should be
read in its entirety, rather than relying on the summary in this
Disclosure Statement. Approval of the Disclosure Statement by the
United States Bankruptcy Court does not constitute approval by the
Bankruptcy Court on the merits of the Plan.

EXCEPT WHERE SPECIFICALLY STATED OTHERWISE, THE
PLAN HAS BEEN PREPARED BY THE DEBTOR AND HAS
BEEN PREPARED BASED ON INFORMATION AVAILABLE TO
THE DEBTOR. NO REPRESENTATIONS CONCERNING THE
DEBTOR (PARTICULARLY THE VALUE OF THE ASSETS OF
THE DEBTOR) ARE AUTHORIZED OTHER THAN AS SET
FORTH IN THIS DISCLOSURE STATEMENT. THE
INFORMATION CONTAINED HEREIN HAS NOT BEEN
SUBJECT TO A CERTIFIED AUDIT. THOUGH GREAT EFFORT
HAS BEEN MADE TO BE ACCURATE, THE DEBTOR IS
UNABLE TO WARRANT OR REPRESENT THE INFORMATION
CONTAINED HEREIN IS WITHOUT ANY INACCURACY.


1   SUMMARY
1.01 Definitions
    A. Acceptance - A specific class of claims has accepted a plan when such plan has been
       accepted by those voting individual creditors in that class that hold at least two-thirds (2/3)
       in amount (of money), and more than one-half (1/2) in number (greater than 50%) of the
       voting individual allowed claims of that class of creditors. A class of interest has accepted
       a plan if such plan has been accepted by holders of such interest that hold at least two-
       thirds (2/3) in the amount of the allowed interest of such class held by holders of such
       interest (i.e., number of shares held by shareholders or partners) that have voted in
       confirmation of such plan. It is important to note that computation in the confirmation
       voting process is based only on the total amount of claims actually voting rather than on
       claims proven and allowed. Notwithstanding any other provision of this section, a class
       that is unimpaired under this Plan is deemed by law to have accepted this Plan, and
       solicitation of acceptances concerning such class is not otherwise required.
    B. Approved Claim -Shall mean all claims or interest proven and allowed by the Court, under
       the Code, excluding interest, carrying charges, penalties, late charges, and other such add-
       on costs, attorney's fees, and other charges for collection of claims.



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   C. The Case - Shall mean these proceedings under Chapter 11 and the proceedings of Double
      J Farms, LLC, the consolidated Debtors in possession.
   D. Claim(s) - Shall mean any right to payment from the Debtor held by any person or entity.
   E. Chapter 7 - Shall mean a case administered under the Chapter of the Code, 11 U.S.C. §701,
      et seq., whereby parties identical to Debtor, with identical assets and liabilities, have their
      assets liquidated.
   F. Chapter 11	- Shall mean a case being administered under 11 U.S.C. §1101, et seq., for the
      reorganization of the indebtedness of the Debtors.
   G. The Code - Is 11 U.S.C. §101, et seq.
   H. Confirmation - Of this Plan means the Order issued by the Court implementing the Plan
      after it finds that the Plan: 1) has been accepted by the requisite number of creditors
      eligible to vote thereon, 2) is feasible, 3) is fair and equitable, and 4) meets all requirements
      of 11 U.S.C. §1123.
   I. Consummation	 – Of the Plan is final when any payments required by the Plan and/or
      transfers contemplated by the Plan have been commenced.
   J. The Court	 - Shall mean the United States Bankruptcy Court for the District of South
      Carolina.
   K. Creditor – Shall have the meaning proscribed by 11 U.S.C. § 101(10).
   L. The Debtor - Shall mean Connie Lynette Hardwick and the consolidated debtor Double J.
   M. Disbursing Agent - Is that agent empowered by the Court to receive the funds necessary
      to carry out the provisions of the Plan. Subject to the approval of the Court, Debtor, or her
      attorney, will serve as her disbursing agent.
   N. Disclosure Statement – Shall mean the Amended Disclosure Statement filed with this
      Court on November 21, 2017, or any amended subsequently Filed Disclosure Statement
      under 11 U.S.C. § 1125.
   O. Double J - Shall mean the substantively consolidated Debtor, Double J Farms, LLC (Case
      No 17-01132-jw). Double J’s bankruptcy was substantively consolidated with this Case
      on April 14, 2017.
   P. Effective Date - Of this Plan shall be thirty (30) days after the date on which the Plan is
      confirmed.
   Q. Filing Date - Of this case and the substantively consolidated debtor, Double J Farms, LLC
      (Case No. 17-01132-jw) were March 7, 2017.
   R. Impaired Class - Shall mean any class of claims which is affected by the Plan of
      Reorganization, and where rights are adversely affected by this Plan of Reorganization.
   S. The Plan - Shall mean this Debtor’s Amended Plan of Liquidation under chapter 11, filed
      with the Court on November 21, 2017, including any subsequent amendments or
      addendums thereto.
   T. Proof of Claim or POC - which refers to any claims filed by a creditor in this, or the Double
      J case. Referring to a POC shall not indicate that the Debtor is accepting that as a valid
      claim.
   U. Priority Claims - Shall mean all claims entitled to priority status under §507 of the Code.
      This includes, generally, all wages as allowed by the Debtor, all taxes owing to the United
      States and State or local taxing authorities, funds deposited with the Debtor, all debts
      incurred and unpaid since the filing of this case, and all statutory costs assessed or
      assessable by the Court, such as expenses and costs of administration of the estate.




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   V. The Rules - Shall mean the Bankruptcy Rules, the Federal Rules of Civil Procedure, and
       the Local Rules of the Court.
   W. Schedules – Shall mean the Debtors schedules filed on March 21, 2017, and as amended
       on April 17, 2017, and as further amended on August 25, 2017.
   X. Secured Claims - Shall mean all claims fully or partially secured by real estate mortgages,
       security agreements, chattel mortgages, lease-purchase agreements, liens or other
       indentures entitled to secured status under the Code.
   Y. Substantial Consummation – Shall refer to the date (90) days after the Debtor’s Plan has
       been confirmed, subject to the conditions set out below in section 4.01.
   Z. Unimpaired Class - Shall mean any class of claims which are not affected by this Plan of
       Reorganization and which is entitled to, and shall receive under this Plan, full payment
       pursuant to contract or agreement with the Debtor, or which meets the definition of the
       Bankruptcy Code.
   AA.        Unsecured Claims - Shall mean all claims, provable and allowable, of the Debtor,
      other than Secured and Priority Claims.

1.02 Background - The history and background of the Debtor are provided in the Debtor’s
      Disclosure Statement filed on November 21, 2017.
1.03 Financial Condition of the Debtor - The current financial condition of the Debtor is set forth
      in the Schedules and monthly operating Reports filed with the Court. A detailed budget of
      the Debtor’s income and expenses is attached to the Plan as Exhibit A. A detailed
      liquidation analysis is attached to the Plan as Exhibit B.
1.04 The Debtor's Reorganization Proceedings under Chapter 11- The information found in the
      Disclosure Statement provides an adequate history as to the proceedings by the Debtor in
      this reorganization.
1.05 Plan Proponents - This Plan of Reorganization through partial liquidation (the "Plan") under
      Chapter 11 of the Bankruptcy Code (the "Code") proposes to pay creditors of Connie
      Lynette Hardwick (the "Debtor") and Double J from the sale of a large portion of the
      Debtor’s real estate holdings. A description of these holdings, estimated values, and secured
      claims is disclosed later in Section 2 below.
1.06 Class Summary - This Plan provides for 20 classes of Secured Claims, 1 class of
      Administrative creditors, 1 class of priority claimants, two classes of unsecured creditors,
      and an equity class. Unsecured creditors holding allowed claims will receive distributions
      that the proponent of this Plan has valued at approximately 100 cents on the dollar. This
      Plan also provides for the payment of administrative and Priority Claims.                The
      administrative claims will be paid as follows 1) professional claims will be paid from the



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     sale of unencumbered assets upon approval of the professional claims and 2) the quarterly
     fees payable to the US Trustee’s office will be paid when they come due from funds received
     by the Debtor through her regular income.
1.07 Creditor Summary - All Creditors and equity security holders should refer to Articles II
     through IV of this Plan for information regarding the precise treatment of their claim. A
     Disclosure Statement that provides more detailed information regarding this Plan and the
     rights of Creditors and equity security holders has been circulated with this Plan. Your
     rights may be affected. You should read these papers carefully and discuss them with your
     attorney if you have one. (If you do not have an attorney, you may wish to consult one.)


1.08 Summary of Plan – The Debtor’s proposed Plan consists of liquidating a significant portion
     of her encumbered and unencumbered real property assets to generate the necessary funds
     to repay her creditors in full. The Debtor intends to continue her marketing efforts to sell
     her assets and will be listing additional assets for sale to further deleverage her balance
     sheet. The Debtor believes she can sell enough assets to pay her creditors in full within 12
     months of October 1, 2017.       Debtor intends to remain current on her secured debt
     obligations. The Debtor may also sell resources from her properties to make her creditors
     whole.


     As part of this process, the Debtor will be dealing with Claims objections and the adversary
     filed by creditor Richard Cooke. Debtor and Mr. Cooke have already conducted settlement
     discussions and have entered into a settlement agreement. This agreement must be approved
     by the Bankruptcy Court and Mr. Cooke must receive financing for the settlement.


     Debtor is currently considering making price reductions to her properties listed for sale to
     further encourage potential buyers to purchase the properties. Debtor is also in the process
     of listing or evaluating listing, additional properties to expedite the repayment of her
     creditors. See Section 4 above. Debtor will utilize her income to fund the regular payment
     to her secured creditors as described in more detail in the plan. That income will also go to
     fund the Debtor's living expense and may be used to repay unsecured creditors.




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             The Debtor currently estimates that she has property worth between $4.7 million and $6.7
             million. This property is secured by debts which total approximately $2.46 million dollars.
             The Debtor anticipates the resolution of $1.92 million dollars of secured debt through
             immediate and mediate sales. The Debtor will continue making payments on approximately
             $546,000 (some payments will be made by her children). The Debtor estimates that she
             will be able to sell approximately $2.1 Million of her property to repay the $1.92 million in
             secured debts (some will be paid through the settlement with Richard Cooke). The sale of
             property will also be used to pay her estimated Administrative claims of $70,000 to $80,000
             (class 21), her $46 to priority creditors (class 22 and subject to change based on her 2016
             taxes), and between $50,000 and $150,000 to unsecured creditors (Class 23). If the Debtor
             can sell the majority of her properties and she is successful in her claims objections and
             resolving her claims objections she believes that she will be able to pay her creditors, in full.


2   PLAN FUNDING
    2.01 Primary Funding - Debtor proposes to retain the assets listed as exempt in her bankruptcy
            schedules, her residence and surrounding property, as well as her household goods and
            furnishings1, and the 2013 GMC Sierra and the 2013 GMC Denali. Debtor is retaining her
            residence, so she has a place to live and to take advantage of the home mortgage interest
            deduction. She is retaining the 2013 GMC Sierra as her primary vehicle since she is selling
            the other cars she owns. The 2013 Denali is being retained as she co-owns it with her step-
            father and it is his primary method of transportation since he needs a special vehicle to
            accommodate his disability. Section 2.02 of the Plan provides a list of the properties that the
            Debtor intends to sell. Debtor asserts that the value of these properties exceed the total debts
            she owes. Debtor proposes to sell her properties until she pays off all of her valid, authorized
            claims. These claims will be paid in order of priority set forth in the Code and according to
            the information set out below in Section 3 of the Plan. Debtor asserts that the sale of her
            property is an adequate means of implementation of this Plan under 11 U.S.C. § 1123(a)(5).




    1
        See below for more details about the retention of non-exempt personal property.

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    The Debtor will remain current on her Secured Debts according to terms of the obligations,
    or based on the modifications set forth in that secured creditor class listed in Section 3 of the
    Plan. The secured obligations on 1641 Quail Trail, the 2016 Ford Mustang, the 2016 Land
    Rover Evoque, the 2016 Chevy Camaro, and the 2016 Dodge Charger will be paid by the
    Debtor’s children as described below starting in November.


    In the event the Debtor can sell an unencumbered asset or an asset with equity beyond the
    liens on the property, the Debtor will distribute those funds according to the priority scheme
    set out in the Code. If the unencumbered asset or equity can pay all the administrative,
    priority, and unsecured claims, the Debtor will then distribute the remaining funds pro rata
    to any remaining secured creditors whose collateral has not been sold (“Pro Rata Pre-
    Payment”). This payment of secured debt early will pay down those claims more quickly
    than waiting for the collateral to sell. This Pro Rata Pre-Payment may exclude the lenders
    on the Debtor’s residence so she can continue to utilize the home mortgage interest deduction
    and maintain her residence. Rather than making the Pro Rata Pre-Payment, the Debtor may
    elect to maintain payments on obligations which are current and must do so with the consent
    of the secured creditor.
    The Debtor estimates that the sale of her property will occur within 12 months of October 4,
    2017. The Debtor is marketing these properties and regularly evaluates the market conditions
    for each property to determine if pricing needs to be adjusted. Debtor will not distribute
    payments to the unsecured creditors until the following events have occurred:
    1. This Plan is approved by the Bankruptcy Court, and such order is a final order;
    2. The Claims Bar Date referenced in Section 4.04 below has passed;
    3. All claims objections have been resolved;
    4. Debtor's counsel has received the payment from the sale of property, and such payment
       is considered to be ‘good funds' as required under the South Carolina Rules of
       Professional Ethics number 412. This period is dependent on the manner of payment and
       Debtors' counsel's judgment of when such funds are ‘good funds.'
    5. The Debtor has concluded the adversary litigation against Richard Cooke, adversary case
       no 17-80091-jw.




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     Once these five criteria are met Debtors’ counsel will distribute the funds according to the
     terms proposed herein, within 30 days.




     The Debtor’s daughters are attempting to monetize their interest in the 1852 acres on Valley
     Forge Rd. Once they do so, they will be providing a payment to the Debtor for the material
     support she has provided to them on the 1641 Quail Trail property over the past several years.
     The Debtor must prepare a calculation of those payments and will submit it for repayment
     once she has finished that calculation and the property has been monetized. The Debtor
     currently holds property in trust for her two children, the 1641 Quail Trail Property, 1200
     Naylor, and the 185 Acres Valley Forge Rd. A portion of the 185 Acres was sold, and the
     funds are being used to make the Children’s payments on the cars and the mortgage on Quail
     Trail. If these funds run out and no other source of funds is available from the Children, the
     Debtor will have to resume payments on the Quail Trail property, because she is obligated
     on the debt. Debtor will require the Children to repay any amounts she pays on their behalf
     from the sale of their property. She may also elect to sell the Quail Trail property if it appears
     that the payments will continue for longer than a period of 3 months.


     The Debtor has already listed numerous properties for sale and is in the process of
     interviewing a realtor to list the properties she owns in Tennessee, 2127 & 2129 Waldens
     Creek Rd. Debtor is also examining the possible sale of 407 34th Ave N, in N. Myrtle Beach,
     SC3. Debtor estimates that these properties could fetch close to $1 million before taxes and
     costs of sale, resulting in a significant reduction in her debts.


     Debtor is also working to sell multiple pieces of personal property. These include the 2014
     Chevy Corvette, the Pontiac GTO, the Studebaker, the Harley, the Crest Pontoon Boat, the


2
  The daughters have already sold 13 acres of the 185 acres, and the 185-acre reference is to
conform with the property description on the original schedules. The proceeds from the sale of
the 13 acres went to the Daughters so they could pay their living expenses and pay future
obligations.
3
  407 34th Ave is held in a revocable trust in the Debtor's name. In the event, she were to sell
these properties the funds would be used to repay her creditors.

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        Suzuki, the San Pan Pontoon boat, and the 2011 GMC Sierra Denali. Pre-confirmation the
        Debtor has attempted to sell these assets, but buyers have been unwilling to make an offer
        and wait the 30 days necessary for approval of the sale under 11 U.S.C. § 363. The Debtor
        believes that post-confirmation she will have much more success in selling these assets as
        she will not have to sell under 11 U.S.C. § 362 and wait the necessary 28 days to have the
        sale approved. The Debtor will file a notice of sale after the sale of these assets to provide
        the creditors information relating to the sale and the benefit to the estate.


        The Debtor will retain the real property where her residence is located and would like to hold
        onto the property that surrounds that house at 4277 Joyner Swamp Road. This property is
        rural and would likely only sell as a part of her residence. Further, Debtor is concerned that
        the sale of the surrounding property could diminish her property value as the last sale of any
        significant acreage in her immediate area became a trailer park.


        Debtor will also retain the use of the various farm equipment to maintain the Florence
        property so that it will be more attractive to a buyer. The Debtor will also retain the 2013
        GMC Sierra as her primary vehicle so she can visit the Florence property. She owns the
        2013 GMC Denali 50/50 with her step-father, Joseph Cooke 4 , and it is his primary
        transportation. Debtor intends to sell this asset when he no longer requires transportation.


        Debtor is also pursuing alternatives to selling her properties, including allowing the sale of
        resources from her property. This sale of resources would pay in part, or in whole the
        Debtor's creditors according to the terms of the Plan. Any sale of resources would be made
        through a motion pursuant to 11 U.S.C. § 363 to provide notice to the creditors of the estate,
        even after confirmation. The sale of any resources from the property would go to repay the
        lien holder, to the extent there is a lien on those resources, and then to pay creditors according
        to the order of priority as set out in the Code and this Plan.




4
    Joseph Cooke is not related to Richard Cooke.

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        All sales of real property, or resources, contemplated by the Plan shall remain subject to
        notice pursuant to 11 U.S.C. § 362 to all creditors and parties in interest, who shall be
        afforded an opportunity to object to such future sales, and shall be contingent upon Court
        approval.


        If, at any time during the life of the Plan, the Debtor should become deceased, the Plan shall
        immediately be treated as a liquidating Plan and all non-exempt assets to be liquidated under
        the Plan will continue to be liquidated for the benefit of the creditors of the estate.


2.02 Tangible Assets – A detailed list of the Debtor’s assets is available in the Schedules filed on
        March 21, 2017, April 17, 2017, and August 25, 2017. The real property assets and large
        personal property assets are listed below. 	
   TMS	#	        Address	            	Estimated	      	Secured	          	Estimated	       	Equity	after	 Listed	for	Sale	             	List	Price		
                                          Value		      Creditor		     Secured	Claim		          Secured		

   055000109     40.24	acres	      	$188,220.00		    	ArborOne		 		                       	$188,220.00		 no	surrounds	       		
   0	            Joyner	                                                                                 primary	
                 Swamp	                                                                                  residence	
                 Road,	
                 Gallivants	
                 Ferry,	SC	
                 (Horry	Co.)	
   155000001     121	acres	in	     	$177,150.00		    	ArborOne		 		                       	$177,150.00		 Yes	(under	               	$137,000.00		
   6000,	        2	tracts,	                                                                              Contract)	
   155000001     Gresham,	SC	
   1000	         (Marion	Co.)		
   044000102     38	Acres	                 	Sold		   	ArborOne		 		                                  	$-				 Sold	           		
   8	            Barnhill	
                 Road,	
                 Gallivants	
                 Ferry,	SC	
                 (Horry	Co.)	
   00370-01-     1174.99	                       	    	ArborOne		 		                      	$3,969,200.00		 Yes	                    	$3,969,000.00		
   011	          Acres	of	         $3,969,200.0
   (785.57	      Land	(in	3	                  0		
   acres),	      separate	
   00370-01-     tracts),	
   001	(375	     Florence,	SC	
   acres),	      (Florence	
   00370-01-     Co.)	
   007	(14.42	
   acres)		
   013000102     108	acres	        	$232,000.00		    	ArborOne		 		                       	$232,000.00		 Yes	                      	$260,000.00		
   5	            Duford,	
                 Nichols,	SC	
                 (Horry	Co.)	
   		            		                   	Total	for	    	ArborOne		      	$1,390,946.81		   	$3,175,623.19		 		                 		
                                     ArborOne		




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  055000116    4277	Joyner	                  	         	Chase	               	$95,655.00		      	$1,104,345.00		 No	Primary	         		
  9	           Swamp	Rd,	       $1,200,000.0        Mortgage	                                                    Residence	
               Gallivants	                 0		      and	NBSC		
               Ferry,	SC	-	
               PRIMARY	
               RESIDENCE	
               (Horry	Co.)	
  145054502    2804	N.	         	$900,650.00		           	First	         	$391,000.00		          	$509,650.00		 No	subject	to	       		
  0	           Ocean	Blvd.,	                         Reliance	                                                  litigation	
               North	Myrtle	                             Bank		
               Beach,	SC	
               (Horry	Co.)		
  092028050    2139	            	$375,000.00		        	Nancy	                	$45,583.00		       	$329,417.00		 Debtor	is	           		
  00092(parc   Walden’s	                         Pickelsimer		                                                  delaying	the	
  el	ID)		     Creek	Rd,	                                                                                       listing	to	see	if	
               Sevierville,	                                                                                    a	contract	on	
               TN	(Sevier	                                                                                      the	Florence	
               Co.)	                                                                                            Property	will	
                                                                                                                come	through	

  055000119    4270	and	        	$127,500.00		 		                  		                            	$127,500.00		 no	surrounds	        		
  6	           4272	Joyner	                                                                                     primary	
               Swamp	                                                                                           residence	
               Road,	
               Gallivants	
               Ferry,	SC	
               (Horry	Co.)		
  092028030    2127	            	$325,000.00		 		                  		                            	$325,000.00		 Debtor	is	           		
  00092	(par   Walden’s	                                                                                        delaying	the	
  cel	ID)		    Creek	Rd,	                                                                                       listing	to	see	if	
               Sevierville,	                                                                                    a	contract	on	
               TN	(Sevier	                                                                                      the	Florence	
               Co.)	                                                                                            Property	will	
                                                                                                                come	through	

  055000119    4677	Joyner	     	$141,000.00		 		                  		                            	$141,000.00		 Debtor	intends	      		
  3	           Swamp	Rd,	                                                                                       to	sell	only	if	
               Gallivants	                                                                                      she	cannot	sell	
               Ferry,	SC	                                                                                       other	
               (Horry	Co.)		                                                                                    properties	first	


  145012500    407	34	Ave	      	$325,000.00		 		                                     	$-				    	$325,000.00		 No-	Debtor	          		
  7	           N.	North	                                                                                        believes	the	
               Myrtle	                                                                                          property	is	
               Beach,	SC	                                                                                       more	valuable	
                                                                                                                as	a	rental	
  055000104    27	Acres	        	$148,500.00		 		                  		                            	$148,500.00		 Listed	for	Sale	          	$148,500.00		
  9	           Joyner	Swam	
               Rd,	
               Gallivants	
               Ferry,	SC	
  086000304    Loris	(Horry	     	$18,110.00		 		                  		                              	$18,110.00		 No	cannot	sell	     		
  6	           Co.)		                                                                                            because	debtor	
                                                                                                                 only	owns	50%	
                                                                                                                 and	co-owner	
                                                                                                                 does	not	want	
                                                                                                                 to	sell	


  		           Total	                        	 		                       	$1,923,184.81		        	$6,279,395.19		 		                  		
                                $8,127,330.0
                                           0		




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       Not	owned	
       by	either	
       Debtor	but	
       listed	on	
       schedules	    		                    		                     		                 		                      		                  		                   		
                                                 	Estimated	           	Secured	                                  	Equity	after	
       TMS	#	        Address	                         Value		           Creditor		        	Secured	Claim		            Secured		 Listed	for	Sale	      		


                     185	Acres	
                     Valley	Forge	                                                                                                                               	$755,500	
                     Rd,	Aynor,	                                                                                                                           estimated	value	
                     SC	(Horry	                                                                                                                             after	sale	of	13	
       0690001011	   Co.)		                	$844,322.00		 		                         		                      		                      Yes	                              acres		
                     1200	Naylor	
                     Ave,	Myrtle	
                     Beach,	SC	
       1810503014	   (Horry	Co.)	               	$75,250.00		 		                     		                           	$75,250.00		 No	                   		
                     1641	Quail	
                     Trail,	
       1971201010    Manning,	SC	
       00	(parcel	   (Clarendon	
       ID)	          Co.)		                	$352,000.00		    	Anderson		                   	$232,358.00		                      	$-				 No	            		
                                                        	
                                           $8,127,330.0
       		            Total	                           0		 		                              	$2,155,542.81		 		                        		               		



  Vehicles	               		                     		                      		                       		                      		                   		
  Vehicle	Make	                                            	Secured	             	Estimated	
  Model	Year	                       	Value		                Creditor		        Secured	Claim		                 	Equity		        	To	be	sold		        	Estimated	Sale	Price		
  GMC	Sierra	                                                                                                         No	Primary	
  2013	                        	$13,097.00		                   	Ally		           	$5,706.00		            	$3,695.50		 Vehicle	               		
  G Champion
  DR 2 Door,
  Study, 1939                  	$10,000.00		             	Anderson		 		                                 	$10,000.00		 Yes	                                       	$10,000.00		
  Pontiac	GTO	
  1965	                        	$41,000.00		             	Anderson		 		                                 	$41,000.00		 Yes	                                       	$41,000.00		
  Harley	Trike	
  2009	                        	$17,000.00		             	Anderson		 		                                 	$17,000.00		 Yes	                                       	$17,000.00		
                                     	Total	
  		                             Anderson		              	Anderson		            	$39,289.00		           	$28,711.00		 		                       		


                                                                                                                      No	but	will	when	
  GMC	Denali	                                         	Citizens	Bank	                                                 Joseph	Cooke	no	
  2013	                        	$30,550.00		                     NA		            	$6,708.00		           	$11,921.00		 longer	uses	             		
                                                                                                                      No	using	to	
  John	Deere	                                          	The	Citizens	                                                 maintain	
  7230	                        	$32,500.00		                   Bank		 		                                 	$3,647.00		 properties	              		

  Enclosed	Cargo	                                      	The	Citizens	                                                 No	-	used	to	
  Craft	Trailer	                	$9,000.00		                   Bank		 		                                 	$9,000.00		 maintain	farm	           		

  Hardee	Rotary	                                       	The	Citizens	                                                 No	-	used	to	
  Cutter	                       	$4,500.00		                   Bank		 		                                 	$4,500.00		 maintain	farm	           		

  Enclosed	2010	                                       	The	Citizens	                                                 No	-	used	to	
  trailer	                      	$8,000.00		                   Bank		 		                                 	$8,000.00		 maintain	farm	           		




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  Gooseneck	                                 	The	Citizens	                                          No	-	used	to	
  Cargo	                  	$2,800.00		               Bank		 		                          	$2,800.00		 maintain	farm	           		
                                                                                                     No	using	to	
  John	Deere	                                	The	Citizens	                                          maintain	
  4000	                   	$8,500.00		               Bank		 		                          	$8,500.00		 properties	              		
                                             	The	Citizens	
  		                		                               Bank		        	$28,853.00		        	$7,594.00		 		                       		
  Chevy	Corvette	                            	The	Citizens	
  2014	                  	$44,517.00		               Bank		        	$34,581.00		        	$9,936.00		 Yes	                              	$44,517.00		

  2nd	on	Chevy	                                  	Conway	
  Corvette	         		                      National	bank		        	$17,645.64		       	$(7,709.64)	   Yes	                                     	$-				

  Ford	Mustang	                                  	Conway	                                            No	-	paid	by	Bruce	
  2016	                  	$28,000.00		      National	bank		        	$12,092.99		       	$15,907.01		 Hilburn	                 		
                                                                                                     Yes,	may	sell	to	
  GMC	Sierra	                                    	Conway	                                            brother	who	
  2011	                  	$15,913.00		      National	bank		 		                         	$15,913.00		 drives	                           	$15,913.00		
  Dodge	
  Challenger	                                    	Conway	                                            No	-	Being	paid	by	
  2016	                  	$27,989.00		      National	bank		 		                         	$27,989.00		 Brandon	Grice	           		



                                                                                                     Debtor	is	not	
                                                                                                     obligated	on	the	
                                                 	Conway	                                            Debt	but	owns	the	
  		                           	Total		     National	bank		        	$17,219.49		       	$26,682.51		 two	vehicles	            		



                                                                                                        No	-	being	paid	by	
                                                                                                        Jamey	Hicks	
                                                                                                        Hilburn.		Debtor	
                                                                                                        not	obligated	on	
  Chevy	Camaro	                                  	Conway	                                               debt	but	owns	
  2016	                  	$32,272.00		      National	bank		 		                                  	$-				 vehicle	              		




                                                                                                        No	-	being	paid	by	
                                                                                                        Jordan	Hicks	
                                                                                                        Debtor	not	
  Range	Rover	                                   	Conway	                                               obligated	on	debt	
  Evoque	2016	           	$39,412.00		      National	bank		 		                                  	$-				 but	owns	vehicle	     		

  Crest	Pontoon	                                 	Conway	
  Boat	2016	             	$30,000.00		      National	bank		 		                         	$30,000.00		 Yes	                              	$30,000.00		
  San	Pan	
  Pontoon	Boat	                                  	Conway	
  2016	                   	$7,500.00		      National	bank		 		                          	$7,500.00		 Yes	                               	$7,500.00		

                                                 	Conway	
  		                	Total	Conway		         National	bank		        	$52,442.84		      	$(14,942.84)	   		                     		

  Combine	                  $80,000		 		                            	$9,667.81		 		                    		                     		

  Combine	               	$80,000.00		 		                          	$19,468.00		 		                    		                     		

                                                 	Conway	                                            Claim	to	be	paid	
  		                	Total	Conway		         National	bank		        	$29,135.81		       	$50,864.19		 by	R	Cooke	                                	$-				
  Suzuki	C-50	
  2006	                   	$2,300.00		 		                     		                        	$2,300.00		 Yes	                               	$2,300.00		




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  Trailer	with	                                                                                    No	-	used	to	
  hitch	                	$1,500.00		 		                     		                        	$1,500.00		 maintain	farm	          		

  Flatbed	16-foot	                                                                                 No	-	used	to	
  Trailer	              	$1,200.00		 		                     		                        	$1,200.00		 maintain	farm	          		

  Polaris	ATV	          	$3,500.00		 		                     		                        	$3,500.00		 No	needs	repairs	       		
  Polaris	ATV	(6	
  wheeler)	             	$2,000.00		 		                     		                        	$2,000.00		 No	needs	repairs	       		

  New	Holland	                                                                                     No	-	used	to	
  Rustler	              	$2,000.00		 		                     		                        	$2,000.00		 maintain	farm	          		

  Carryall	             	$2,000.00		 		                     		                        	$2,000.00		 No	needs	repairs	       		

  Carry	All	#2	         	$2,000.00		 		                     		                        	$2,000.00		 No	needs	repairs	       		

                                                                                                   No	-	used	to	
  Burroughs	            	$6,000.00		 		                     		                        	$6,000.00		 maintain	farm	          		

                                                                                                   No	-	used	to	
  Grasshopper	          	$7,500.00		 		                     		                        	$7,500.00		 maintain	farm	          		

  Taylor	Made	                                                                                     No	-	used	to	
  Ground	Disk	          	$2,500.00		 		                     		                        	$2,500.00		 maintain	farm	          		

                                                                                                   No	-	used	to	
  32	Blade	Disk	        	$2,500.00		 		                     		                        	$2,500.00		 maintain	farm	          		

  Hardee	Offset	                                                                                   No	-	used	to	
  Cutter	              	$10,500.00		 		                     		                       	$10,500.00		 maintain	farm	          		

  Box	Blade	4	                                                                                     No	-	used	to	
  foot	                   	$500.00		 		                     		                          	$500.00		 maintain	farm	          		

                                                                                                   No	-	used	to	
  43	Corrals	          	$16,555.00		 		                     		                       	$16,555.00		 maintain	farm	          		

  40-foot	storage	                                                                                 No	-	used	to	
  boxes	                	$4,000.00		 		                     		                        	$4,000.00		 maintain	farm	          		
  Farm	
  equipment	
  wrongfully	held	                                                                                 Subject	of	
  by	a	third	party	    	$19,500.00		 		                     		                       	$19,500.00		 potential	litigation	   		

  King	16	blade	                                                                                   No	-	used	to	
  disk	                   	$500.00		 		                     		                          	$500.00		 maintain	farm	          		

  Hardee	6x16	                                                                                     This	may	be	a	
  Trailer	              	$1,200.00		 		                     		                        	$1,200.00		 duplicate		             		

                                          	Claims	Owed	
  		                  	$650,305.00		          by	Debtor		        	$214,361.29		 		                  		                     		




2.03 Intangible and Tangible Assets and Assets Being Withheld From Sale - The Debtor owns
       numerous household goods that are not exempt. The Debtor only intends to sell those


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    household items that are sold incident to a sale of the real property where those items are
    located, or if the Debtor has extinguished her real assets and creditors remain unpaid.	


    The Debtor has numerous claims against individuals that are listed on question 33 of
    Schedule B. Upon confirmation of this Plan; the Debtor intends to begin pursuing those
    causes of action to the extent the Debtor has a valid claim. Debtor is also investigating causes
    of action under 11 U.S.C. §§ 547, 548, 549, and 550. The Debtor has not completed its
    analysis of potential chapter 5 causes of action in this matter. Debtor is reserving her rights
    to pursue those causes of action post-confirmation. In the event the Debtor can recover
    funds from these various causes of action, the funds would be used to repay her
    creditors in order of priority. Certain claims may be related to insurance claims, and
    to the extent that those payments are to repair property, those funds would be used to
    repair those items. The Debtor will have 60 days from the Effective Date of the Plan
    to pursue these actions.


    The Debtor also has numerous life insurance policies that have been claimed as exempt. The
    Debtor has used and intends to continue to use, the cash portion of those whole life policies
    to maintain her monthly secured obligations. As she can deleverage her balance sheet, the
    Debtor will allow those whole life policies to build up value to the extent those funds are not
    needed for necessary living expenses.


    Debtor is committing to contribute her income to maintain her living expenses, and any
    excess income will be used to pay creditors ongoing Secured Claims, and any income that
    remains after paying the prior expenses will be used to pay any remaining Class 21, 22 and
    23 claims. The Debtor's budget is variable, and as time progresses, she hopes that she will
    be able to reduce her monthly obligations such that she can contribute more income to paying
    down debt rather than debt service. The Debtor’s primary non-exempt source of income is
    from her ownership in River Neck Acres, the rental homes in Tennessee, the 1200 Naylor
    property in Myrtle Beach, and periodic residual income from old insurance contracts. The
    Debtor’s income may decrease if she sells her rental properties, but those sale proceeds will
    still be used to pay down her debts.



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3   CLASSIFICATION OF CLAIMS AND INTERESTS

    3.01 Class 1.        ArborOne, ACA (“ArborOne”).                    Secured Impaired
         ArborOne asserts a Pre-petition Claim against the Debtor in the approximate amount of
         $1,552,714.73, secured by multiple liens against the property of the estate. As of October
         4, 2017, the obligation owed to ArborOne was $1,390,946.81. The obligation was reduced
         through the application of $101,884.74 that was held by ArborOne, the sale of 38 acres on
         Barnhill Rd which provided $85,534.32, and the application of patronage funds of
         $16,005.61. ArborOne will be further paid down from the sale of the 118 Acres in Gresham
         SC which will pay approximately $122,000 to ArborOne. That sale is expected to take place
         on November 11, 2017.


         Debtor asserts that ArborOne is oversecured and proposes to make no payments to
         ArborOne for 12 months. Starting October 1, 2017, the Debtor will have one year to sell
         this property according to the terms and conditions imposed by ArborOne. During this time
         interest will continue to accrue at the contract rate for each of the various notes. No default
         interest, penalties, or fees will be charged, only simple interest and necessary attorney’s
         fees.


         Debtor believes that ArborOne will be paid in full from the proceeds generated from the
         sale of the Debtor’s property. ArborOne’s claim shall survive until paid in full through the
         sale of the Debtor’s assets or the refinancing of the obligation to ArborOne.


         Debtor and ArborOne agree that the terms above do not cure the Debtor's default to
         ArborOne, but are temporary waivers of the default of the underlying agreements.


    3.02 Class 2.        First Reliance Bank (“FRB”)            Secured Unimpaired
         FRB asserts a Pre-petition secured claims (POC 24 and 25) against the Debtor of
         approximately $363,614.76. This debt is secured by an asserted first priority mortgage
         against the property located at 2804 North Ocean Blvd, N Myrtle Beach, SC 29582. Debtor



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     intends to market and sell this property but cannot do so until it resolves the insurance issue
     below, and the claims of Richard Cooke. FRB also has a second mortgage on the same
     property for an obligation that totals $35,488.52. The total pre-petition secured claim
     asserted by First Reliance is approximately $399,103.28.


     This loan is secured by the property that is the subject of the litigation filed by Richard
     Cooke (Adv. Case No. 17-80091-jw). The Debtor will stop payments to FRB until the
     settlement with Richard Cooke, described herein, is completed. The balance owed to FRB
     will be paid in full from that settlement.       Any shortfall the Debtor will repay, and
     overpayment will be refunded to the Debtor.


     Unless the settlement with Mr. Cooke is authorized, the Debtor must resolve his claim and
     the Debtor’s insurance claim on the property (for damages suffered in October of 2016 as a
     result of Hurricane Matthew) before she can sell this property. Debtor submitted for
     insurance coverage due to this damage and that claim has initially been denied. Debtor is
     evaluating her next steps to address this denial. Even without the payment of the insurance
     claim, the Debtor believes that the value of the property exceeds the claim of FRB.


     Other than as stated above, Debtor asserts that she has cured any defaults to FRB and will
     remain current on the underlying obligation. The monthly payment on these note is
     $5,633.60 a month.


3.03 Class 3.        Anderson Brothers Bank (“ABB”)                 Secured Unimpaired
     ABB asserts a Pre-petition Secured Claim (POC 16) against the Debtor of approximately
     $232,358.63. This debt is secured by an asserted first priority mortgage against the property
     located at 1641 Quail Trail in Manning, SC. This property is held in trust by the Debtor for
     the benefit of her daughters under the will of their father. The property had a mortgage on
     it at the time it was inherited, and the two daughters wanted to retain the property. The
     Debtor refinanced the mortgage into her name because her daughters were minors. Going
     forward the two daughters will be paying this obligation, working to repair the property,
     and will repay the Debtor for amounts she spent to maintain this mortgage and for the



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     upkeep of the property. Debtor asserts that this property’s value exceeds the debt. The
     Daughters have funds from the sale of their property to maintain their payments for the short
     term. If these funds run out and no other source of funds is available from the Children, the
     Debtor will have to resume payments on the Quail Trail property, because she is obligated
     on the debt. Debtor will require the Children to repay any amounts she pays on their behalf
     from the sale of their property. She may also elect to sell the Quail Trail property if it
     appears that she will have to make payments for longer than a period of 3 months.


     Debtor does not believe that there are any defaults on the obligation to ABB but asserts that
     if there are, those defaults have been cured and the obligation will remain current through
     the payments that are to be made by her daughters. The monthly payment on this note is
     $2,151.


3.04 Class 4.        NBSC a Division of Synovis (“NBSC”)                  Secured Unimpaired
     NBSC asserts a Pre-petition Secured Claim (POC 19) against the Debtor of approximately
     $52,712.79. This debt is secured by an asserted mortgage against the Debtor's residence
     located at 4277 Joyner Swamp Road, Gallivants Ferry, SC 29544. The Debtor will continue
     to make payments under the note and mortgage terms. Debtor asserts that this property’s
     value exceeds the debt.


     Debtor asserts that she has cured any defaults to NBSC and will remain current on the
     underlying obligation. This is the Debtor's primary residence, and she does not propose to
     modify this claim. The monthly payment on this note is $835.13.


3.05 Class 5.        Conway National Bank (“CNB”)                  Secured Impaired


     CNB asserts a Pre-petition Secured Claim (POC 5) against the Debtor of approximately
     $51,979.   This debt was previously secured with a Claim against a 2012 Free 23U
     Recreational Vehicle, and the collateral was substituted with a 2016 Crest Pontoon Boat and
     a 2016 San Pan Pontoon Boat. The Debtor will remain current on these payments until the




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     loan is paid in full or the collateral is sold to repay the debt. Debtor intends to sell this
     collateral to repay CNB.


     This claim may be undersecured. Any undersecured claim will be a class 23 claim. Debtor
     asserts that she has cured any defaults to CNB and will remain current on the underlying
     obligation. The monthly payment on this note is $416.66. This payment is made on an
     annual basis, and the annual payment is $5,000.00.


3.06 Class 6.         Conway National Bank (“CNB”)                   Secured Unimpaired
     CNB asserts a Pre-petition Secured Claim (POC 13) against the Debtor of approximately
     $20,015. This debt is secured through a second lien against a 2014 Chevrolet Corvette. The
     Debtor will remain current on these payments until the loan is paid in full or the collateral
     is sold to repay the debt. Debtor is in the process of attempting to sell this property to pay
     off this obligation.


     Debtor asserts that she has cured any defaults to CNB and will remain current on the
     underlying obligation until she sells the collateral. The monthly payment on this note is
     $490.88.


3.07 Class 7.         Conway National Bank (“CNB”)                   Secured Unimpaired
     CNB asserts a Pre-petition Secured Claim (POC 7) against the Debtor of approximately
     $18,722.01. This debt is secured with a Claim against a 2016 Dodge Challenger and has
     the 2011 GMC Sierra as additional collateral. The Debtor will remain current on these
     payments until the loan is paid in full or the collateral is sold to repay the debt. Debtor will
     not pay this obligation as it is a debt her children have agreed to pay.


     Debtor’s brother is interested in purchasing the GMC Sierra because he has primarily been
     the driver of this vehicle. The Debtor is working with him to reach a fair market value sale.
     If a sale price can be agreed upon, the Debtor will notice the sale to all creditors and parties
     in interest, and it will be subject to Court approval. Debtor asserts that she has cured any




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     defaults to CNB and will remain current on the underlying obligation through payments to
     be made by her children. The monthly payment on this note is $342.81.


3.08 Class 8.        Conway National Bank (“CNB”)                Secured Unimpaired
     CNB asserts a Pre-petition Secured Claim (POC 4) against the Debtor of approximately
     $16,653.12. This debt is secured by a Claim against a 2016 Ford Mustang. The Debtor’s
     daughter will make payments on this debt as she is the primary driver of this car. Debtor
     asserts that this property’s value exceeds the debt.


     Debtor asserts that she has cured any defaults to CNB and her daughter will remain current
     on the underlying obligation. The monthly payment on this note is $784.37.


3.09 Class 9.        Conway National Bank (“CNB”)                Secured Impaired
     CNB asserts a Pre-petition Secured Claim (POC 3) against the Debtor of approximately
     $13,624.65. This debt is secured with a Claim against a Combine and Attachments. The
     Debtor will stop payments to CNB until the settlement with Richard Cooke, described
     herein, is completed. The balance owed to CNB will be paid in full from that settlement.
     Any shortfall the Debtor will repay, and overpayment will be refunded to the Debtor.


     Other than as stated above, Debtor asserts that she has cured any defaults to CNB and will
     remain current on the underlying obligation until the obligation is paid by Richard Cooke
     according to the settlement agreement. The monthly payment on this note is $832.01.


3.10 Class 10.       Conway National Bank (“CNB”)                Secured Impaired
     CNB asserts a Pre-petition Secured Claim (POC 2) against the Debtor of approximately
     $24,237.89. This debt is secured with a Claim against a Combine and Attachments. The
     Debtor will stop payments to CNB until the settlement with Richard Cooke, described
     herein, is completed. The balance owed to CNB will be paid in full from that settlement.
     Any shortfall the Debtor will repay, and overpayment will be refunded to the Debtor.




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     Other than as stated above, Debtor asserts that she has cured any defaults to CNB and will
     remain current on the underlying obligation until the obligation is paid by Richard Cooke
     according to the settlement agreement. The monthly payment on this note is $429.66 a
     month. This payment is made on an annual basis, and the annual payment is $5,155.92


3.11 Class 11.       Nancy Pickelsimer (“Mrs. Pickelsimer”)                 Secured Unimpaired
     Mrs. Pickelsimer has a Pre-petition Secured Claim against the Debtor of approximately
     $45,583. This debt is secured by a first priority mortgage against the property located at
     2139 Waldens Creek Rd, Sevierville, TN. The Debtor will remain current on this payment
     until the loan is paid off or the collateral is sold to repay the loan. Debtor asserts that the
     value of this property exceeds this creditor’s obligation.


     Debtor asserts that she has cured any defaults to Mrs. Pickelsimer and will remain current
     on the underlying obligation. The monthly payment on this note is $1,210.92.


3.12 Class 12.       The Citizens Bank (“Citizens”)                 Secured Impaired
     Citizens assert a Pre-petition Secured Claim (POC 8) against the Debtor of approximately
     $28,853.45. This debt is secured by the following property:


     JOHN DEERE 7230 4WD Tractor
     JOHN DEERE460
     NEW HOLLAND Backhoe
     Hardee Bushhog
     Tye No-Till Planter
     Cargo Craft Enclosed Trailer
     Diamond Gauge Trailer


     Debtor will continue to make the regular contract payments on this note until the Debtor
     sells the collateral or the note is paid in full through the term of the obligation or through
     other means. Citizens collateral is currently being used to maintain the Florence property.
     Debtor may sell the collateral with the land (subject to approval by Citizens), sell it



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     separately, or maintain the payments if the Debtor retains some of the Florence property.
     Debtor asserts that the value of the Citizens’ collateral exceeds the debt.


     Debtor has a pre-petition default to Citizens and intends to cure this debt, and the debt below
     in Class 13. The Debtor is currently working with Citizens to discuss the terms of this cure
     and to determine if the correct amount that must be Cured. The Debtor will supplement the
     terms of this cure payment at or before Confirmation of the Plan. The Debtor is proposing
     to cure the pre-petition and post-petition arrearage is $14,578.30. The Debtor is proposing
     to bring this arrearage current by paying Citizens $1,249.68 per month for 12 months which
     will pay the arrearages in full plus 4.25% interest. The Debtor will remain current on the
     underlying obligation payments while curing this arrearage. The monthly payment on this
     note and the note below is $2,769.04.


3.13 Class 13.       The Citizens Bank (“Citizens”)                 Secured Impaired
      The Debtor listed Citizens as a Pre-petition secured creditor for $34,581. The debt is
     secured by the Debtors 2014 Chevy Corvette with a value of $40,698. The Debtor intends
     to remain current on this obligation until she can sell her interest in this car and repay this
     obligation. The Debtor will cure this payment as can be agreed between Citizens and the
     Debtor or according to the terms set out in Class 12 above. The Debtor anticipates selling
     this car after the confirmation of her Plan. The monthly payment and the cure of the
     arrearage on this note are included in the above payment for Class 12.

3.14 Class 14.       JP Morgan Chase Bank, National Association (“JP”)
      Secured Unimpaired
     JP asserts a Pre-petition Secured Claim (POC 23) against the Debtor for $42,943.45. This
     debt is secured against the Debtor’s residence located at 4277 Joyners Swamp Rd,
     Gallivants Ferry, SC.


     Debtor will continue to make the regular contract payments on this note. Debtor asserts that
     she has cured any defaults to JP and will remain current on the underlying obligation. This
     is the Debtor's primary residence, and she does not propose to modify this claim. The



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     Debtor asserts that the value of this property exceeds JP’s debt. The monthly payment on
     this note is $2,726.61.


3.15 Class 15.        Anderson Brothers Bank (“ABB”)                   Secured Unimpaired
     ABB asserts a Pre-petition secured claim (POC 26) against the Debtor of approximately
     $39,289.39. This debt is secured by an asserted lien against the Debtor’s 1965 Pontiac GTO,
     a 2009 Harley Davidson, and a 1939 Studebaker Pickup. The Debtor is not the obligor on
     this account, but provided her collateral as a part of this loan with Chris Brennick. Mr.
     Brennick has failed to make payments under this obligation and the Debtor is making her
     payments to preserve her collateral.


     Debtor will continue to make the regular contract payments on this note until the Debtor
     sells the collateral. Debtor is in the process of attempting to sell the collateral to pay off this
     obligation. Debtor asserts that she has cured any defaults to ABB and will remain current
     on the underlying obligation. Debtor asserts that the value of ABB’s collateral exceeds its
     debt. The monthly payment on this note is $1,200.


3.16 Class 16.        Horry County Treasurer (“Horry”)                 Secured Impaired
     Horry asserts a Pre-petition Secured Claim against the Debtor of approximately $19,819.52.
     This debt is secured by an asserted tax lien against 108 acres Duford, Nichols, SC (Horry
     Co.) (TMS 0130001025); 40.24 acres Joyner Swamp Road, Gallivants Ferry, SC (Horry
     Co.) (TMS 0550001090); 4270 and 4272 Joyner Swamp Road, Gallivants Ferry, SC (Horry
     Co.) (TMS 0550001196); 1200 Naylor Ave, Myrtle Beach, SC (Horry Co.) (TMS
     1810503014); 2804 N. Ocean Blvd., North Myrtle Beach, SC (Horry Co.)
     (TMS1450545020).


     Debtor will pay these tax obligations in full at the time the property is sold. Any payment
     to Horry is subject to the Debtor’s right to object to these claims. The Debtor believes that
     some of the claims asserted by Horry will be reduced by an appeals process or through
     claims objections. Additionally, Mr. Cooke will pay the taxes on the property at the time
     of closing, the last amount available to the Debtor for this property was $14,094.71, which



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     will be paid from the settlement with Richard Cooke if that settlement is authorized by the
     Court.


     While waiting to sell property, Debtor intends to repay these past-due tax obligations by
     making regular payments over the next 12 months with 5.25% until they are paid in full.
     Payments on these tax obligation will begin the first full month after the Plan is confirmed.
     After Richard Cooke pays the taxes on 2804 N Ocean Blvd the payments will be $479.17
     per month. The Debtor will pay off the balance of these taxes, if any, upon the sale of the
     land on which the taxes accrued and potentially in part through the resolution with Richard
     Cooke. Debtor asserts that the value of the property that Horry has under lien exceeds
     Horry’s Claims.


3.17 Class 17.       Citizens Bank N.A.                     Secured Unimpaired
     Citizens Bank N.A. asserts a Pre-petition Secured Claim (POC 10) against the Debtor of
     approximately $6,708.59. This debt is secured by a lien against the 2013 GMC Denali.


     Debtor will continue to make the regular contract payments on this note until the Debtor
     sells the collateral or the note is paid in full through the term of the obligation or through
     other means. This is the vehicle that is used by the Debtor’s step-father who holds a ½
     interest. The Debtor intends to sell this property when her step-father no longer requires
     this transportation. Debtor asserts that she has cured any defaults to Citizens Bank N.A. and
     will remain current on the underlying obligation. Debtor asserts that the collateral’s value
     exceeds the Claim of Citizens Bank N.A. The monthly payment on this note is $783.


3.18 Class 18.       Ally Bank                              Secured Unimpaired
     Ally Bank has filed a Pre-petition Secured Claim (POC 9) against the Debtor for $5,706.96
     and asserts that it is secured against the Debtor’s 2013 GMC Sierra 1500. The Debtor will
     continue to make payments to Ally Bank until the loan is paid off or the collateral is sold.
     This is the Debtor's primary vehicle, and she intends to retain it. Debtor asserts that she has
     cured any defaults to Ally and will remain current on the underlying obligation.




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      Debtor asserts that the value of Ally’s collateral exceeds its Claim. The monthly payment
      on this note is $630.23.


3.19 Class 19.        Florence County Treasurer (“Florence”)                Secured Impaired
      Florence holds three secured claims against property located in the county. Those claims
      were filed as POCs 2, 3, and 4, which total $22,851.93 5 . The Debtor has appealed
      Florence’s assessment and has received three tax bills that have a reduced total of $7,388.95.
      Debtor believes that Florence County’s Claims will be reduced based on reduced tax bills,
      either through an objection to Claims or an amended claim from Florence. Debtor will make
      regular payments on this obligation paying this debt in full in 12 months at 5.25% or when
      the Debtor is able to sell property on which the taxable liability accrued. Payments on these
      tax obligations will begin the first full month after the Plan is confirmed. Those payments
      are estimated to be $655.61 per month.


      Debtor asserts that the value of the property under lien to Florence exceeds its Claims.


3.20 Class 20.        Clarendon County Treasurer             Secured Impaired
      Clarendon County has a secured claim in the amount of approximately $7,162.23 for unpaid
      2016 taxes. The taxes are secured against the property located at 1641 Quail Trail, which
      the Debtor holds in trust for her daughters. The Debtor will pay these tax payments directly,
      but her children will provide the payment to the Debtor to do so. Both the 2016 and 2017
      taxes will be paid according to the terms of taxes, or no later than the Effective Date of the
      Plan. The 2017 taxes appear to be due in the amount of $6,753. 22.


3.21 Class 21.        Administrative Claims                         Non-Voting
      This class consists of the estate professionals including Debtors’ counsel, any CPAs,
      accountants, realtors, and special counsel. This class also consists of the quarterly fees of
      the United States Trustee, which shall continue to be paid as they become due until the case
      is closed, dismissed, or converted. Debtor anticipates that the US Trustee’s Claim will be

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  Shortly before filing the Disclosure Statement Florence County filed three claims which appear
to match the reduced amount listed above. Those claims were filed in the Double J case.

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     limited, as the Debtor has been paying these fees as they come due in the ordinary course.
     There may be a quarterly payment due at the time this Plan is confirmed, and that Claim
     will be paid in the ordinary course.


     The Debtor currently lacks sufficient liquid assets to pay the members of this class of claims,
     but they will be paid according to the order of priority outlined in the Code upon the sale of
     an unencumbered asset or an asset with equity beyond any liens against such property. The
     Claims of any estate professionals will be paid only after approval of those fees. Debtor
     estimates that the current outstanding administrative Claims are approximately $55,000 for
     Debtor's counsel and an additional $15,000 for the Debtor's accountants. Fee applications
     for the majority of these balances have not yet been filed at the time the Disclosure
     Statement was filed. Counsel for the Debtor has agreed to waive the requirement that it be
     paid by the effective date of the Plan.


     The Deadline for filing any 11 U.S.C. § 503(b)(9) claims has passed. Any professionals of
     the estate or other administrative creditors must file their fee applications or claims no later
     than 30 days after the effective date of this Plan. The U.S. Trustee is exempt from this
     requirement for any quarterly fees the Debtor may owe to the office of the U.S. Trustee.


3.22 Class 22.       Priority Claims                         Non-Voting
     Debtor believes that the only potential Priority Claims that may exist are those of the taxing
     authorities, including the IRS, the State Department of Revenue, and the various municipal
     property taxing authorities (Horry County, Marion County, Clarendon, Sevierville County,
     and Florence County). These priority claims are primarily for any unpaid unsecured ad
     valorem property taxes. Any pre-petition ad valorem property taxes will be paid in full over
     a period of 12 months with 5.25% interest after the Debtor has reviewed and addressed those
     claims through the claims objection process. Payments on the pre-petition ad valorem
     property tax obligations will begin the first full month after the Plan is confirmed. Any post-
     petition ad valorem tax obligations for property of the Debtor will be paid in the ordinary
     course.




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     The Debtor does not believe that she will have any obligations to the IRS for 2014 or to the
     SC Department of Revenue based on her filed tax return. Debtor appears to owe $46 to the
     IRS for her 2015 taxes and will pay that upon approval of the Plan. The Debtor's 2016 taxes
     are under extension, and her accounting professionals were still completing those
     documents at the time this Plan was filed. Debtor anticipates having the 2016 tax returns
     prepared and filed before confirmation. The filing of the 2016 return was under extension
     through October. The return for 2015 was not filed until the beginning of October and the
     CPA has been waiting on documents to complete the 2016 tax return.


3.23 Class 23.       General Unsecured Creditors                   Unsecured Impaired
     This class consists of all general unsecured creditors of the Debtor, including any contract
     rejection Claims and any remaining deficiency Claims of undersecured creditors. In
     addition to the Claims scheduled for and/or filed by general unsecured creditors, this class
     includes any and all of the Debtor’s remaining unsecured deficiency obligations to CNB.


     The Debtor estimates that all creditors will be paid in full from the sale of her assets. This
     does not mean that all creditors will receive the amount listed on the Debtor's Schedules or
     the amount included in the Claims filed by the creditors. Debtor intends to file a series of
     objections to clean up the estate's Claims list. Some Claims are duplicative, some are
     incorrectly categorized, and some are materially incorrect. Debtor asserts that upon the
     completion of this Claims objection period, creditors in this class will be paid 100% of their
     agreed upon Claim. After a review of the schedules and the filed Proofs of Claim in this
     matter, and after taking into account the liquidation of all estate and non-estate property
     held as collateral by secured creditors, the Debtor estimates that the aggregate amount of
     known Unsecured Claims will be between $50,000 to $150,000 after claims objections have
     completed.


     This estimation of a 100% Plan is subject to several assumptions. First, the Debtor is
     assuming that the litigation among creditors will not generate sufficient administrative
     Claims such that there will be insufficient assets to pay this class in full. It is further
     assumed that the Debtor's valuation of her property is correct. While she believes her



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     estimates to be conservative, and there is a sufficient equity cushion in those estimates to
     pay all Claims in full should the values be lower, Debtor cannot anticipate market conditions
     in the future, so there is a market risk that the estimate of the property value could be further
     reduced by a macro or microeconomic change.


     Creditors in this class will only be paid once the creditors in class 20 and 21 are paid in full.
     Debtor is also reserving the right to retain a surplus fund in trust to address any unanticipated
     undersecured Claims that may exist.


     Debtor will pay the unsecured creditors in this class in full, with interest to accrue at the rate
     of 5.25% per annum. Once the Debtor establishes an allowed Claim, the creditors will be
     paid interest on their obligation at the above rate since the Petition Date. Interest will accrue
     on all allowed claims as of the date of filing and will accrue until the class 22 creditor is
     paid.


3.24 Class 24.        Richard Cooke (“Mr. Cooke”)             Unsecured Impaired Disputed
     The Debtor listed Richard Cooke on Schedule F in an unknown amount and as a disputed
     Claim. The Debtor believed that Mr. Cooke might make a Claim against her for various
     payments he made to her as rent or as repayment of funds loaned to him by the Debtor. Mr.
     Cooke filed a Claim for $1,000,000. $2,850 of the Claim is Priority Claim, and the
     remainder is an Unsecured Claim. Mr. Cooke has now filed an adversary against the Debtor
     asserting claims similar to his Proof of Claim. The Debtor disputes this Claim and will be
     addressing this Claim through the Claims objection process and this adversary.


     The Debtor and Mr. Cooke have entered into a settlement agreement to resolve this disputed
     claim. The details of this agreement will be available through the yet to be filed Fed. R.
     Bankr. P. 9019 settlement. This summary should not be considered to override the terms of
     the settlement and is merely to inform creditors how this settlement works as part of the
     Plan. The general terms of the agreement that in exchange for the transfer of the 2804 N.
     Ocean Blvd property to Mr. Cooke the Debtor will receive: a mutual release, payment of
     $175,000, the payment of the obligation owed to First Reliance Bank in Class 2 in the



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          amount of $391,656, the payment of the Conway National Bank Claims in Classes 9 and 10
          of $30,543, and a partial payment of the Horry County Taxes in class 16 in the amount of
          approximately $14,094. The payments to Class 2, 9, and 10 are fixed and if those
          obligations are overpaid the refunds will go to the estate. The parties will agree to mutually
          release each other. The settlement is conditioned on court approval and Mr. Cooke
          receiving the financing for the roughly $611,300. Should that settlement fail, the Debtor
          will likely have to litigate these issues, as she disputes Mr. Cooke’s position.


          In the event the Court determines that Mr. Cooke has a valid claim against the Debtor, those
          Claims will be properly classified and treated under this plan, likely as an unsecured creditor
          in Class 23 above.


    3.25 Class 25.        Equity
          This class consists of Connie Lynette Hardwick, the Debtor. The Debtor believes that this
          will be a 100% plan with additional assets left over for equity upon completion of the Plan.
          Because the amount of funds available is dependent on the Claims process, the sales prices
          realized, and taxes on those sales, it is impossible to determine how much this class will
          receive. The Absolute Priority Rule set out in 11 U.S.C. § 1129(b)(2)(B)(ii), in summary,
          holds that a dissenting class of voting creditors must be paid in full before a debtor can
          receive or retain any property under a reorganization plan. The Debtor here proposes to
          repay her creditors in full which would allow the Debtor to retain her some of her assets,
          upon completing her proposed Plan. See generally In re Maharaj, 681 F.3d 558 (4th Cir.
          2012) and 11 U.S.C. § 1129(b)(2)(B)(ii).



4   ALLOWANCE AND DISALLOWANCE OF CLAIMS


    4.01 Allowance of Claims - Except as expressly provided herein, or any order entered in this
         Chapter 11 Case prior to the Effective Date (including the Order Confirming Plan), no Claim
         shall be deemed allowed, unless and until such Claim is deemed allowed under the Code, is
         agreed to be allowed by the Debtor, or is ordered allowed by final order of the Court. Except
         as expressly provided in this Plan, the Debtor, after Confirmation, will have and retain any


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     and all rights and defenses the pre-petition and pre-confirmation Debtor had concerning any
     Claims, including, but not limited to, any causes of action or defenses thereto. The Debtor
     also retains the right to file any necessary motions or other pleadings for estimation or
     determination of the amount of any disputed Claim. All Claims of any person or entity that
     owes money to the Debtor shall be disallowed unless and until such person or entity pays the
     full amount it owes the Debtor.

     The Debtor estimates that the sale of her property will occur within 12 months of October 4,
     2017. The Debtor is marketing these properties and regularly evaluates the market conditions
     for each property to determine if pricing needs to be adjusted. Debtor will not distribute
     payments to the unsecured creditors until the following events have occurred:
     1. This Plan is approved by the Bankruptcy Court, and such order is a final order;
     2. The Claims Bar Date referenced in Section 4.04 below has passed;
     3. All claims objections have been resolved;
     4. Debtor's counsel has received the payment from the disbursing agent, and such payment
         is considered to be ‘good funds' as required under the South Carolina Rules of
         Professional Ethics number 412. This period is dependent on the manner of payment and
         Debtors' counsel's judgment of when such funds are ‘good funds.'
     5. The Debtor has concluded the adversary litigation against Richard Cooke, adversary case
         no 17-80091-jw.


     Once these five criteria are met Debtors’ counsel will distribute the funds according to the
     terms proposed herein, within 30 days.


4.02 Claims Bar Date - Unless otherwise ordered by the Court, the Claims Bar Date shall be July
     20, 2017, for all creditors except governmental units and shall be September 4, 2017,
     (“Claims Bar Date”) for a governmental unit as such dates were set forth in the Court’s
     Notice of Chapter 11 Bankruptcy Case, Meeting of Creditors, and Deadlines issued on the
     Filing Date in this case. Unless specifically ordered otherwise by the Court, only Claims
     scheduled by the Debtor without any contingent, unliquidated, or disputed notations, and
     those Claims filed by proof of claims on or before the Claims Bar Date, shall constitute
     Claims asserted against the Debtor in this Case. Any Claims filed after the Claims Bar Date


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         shall be automatically disallowed unless the claimant successfully obtains an order of the
         Court or consent of the Debtor allowing a late-filed proof of claim.


    4.03 Authority to Prosecute Objections - The Debtor specifically reserves the right to object to
         any Claim the Debtor disputes, whether such Claim resulted from the Debtor’s schedules or
         from a filed proof of claim. After the Effective Date, only the Debtor and bankruptcy counsel
         shall have the authority to file objections to Claims and to settle, to compromise, withdraw,
         or to litigate to judgment objections to Claims.


    4.04 Claims Objection Bar Date - Except as otherwise ordered by the Court, any and all objections
         to Claims shall be filed with the Court and served upon the relevant creditors by the date that
         is 60 days after the Effective Date or 60 days after such Claim or any amendment thereto is
         filed, whichever date is later (the "Claims Objection Bar Date"). The Bankruptcy Court upon
         motion of the Debtor may extend this Claims Objection Bar Date. Any distributions called
         for in the Plan concerning and on account of Claims to which objections have been filed will
         be made as soon as practicable, and only after such Claim becomes an allowed Claim.


    4.05 Status of Claims After Confirmation - From and after Confirmation of this Plan, the Debtor
         is exonerated from any and all pre-petition Claims that were not filed by a creditor or
         claimant of interest against the Debtor before the Claims Bar Date set by this Court or
         otherwise scheduled by the Debtor without qualification. The Debtor will, from and after
         Confirmation of this Plan, be indebted for, and obligated to pay, only those liabilities and
         obligations set forth in Article III of this Plan, and only those that are allowed Claims. To
         avoid any confusion, a Claim will not be allowed unless the Debtor has determined that there
         is no objection required for that Claim or the Claims Objection Bar Date has passed.

5   PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    5.01 The Debtor has one executory contract which is an on-demand contract for rental services
         on her two mountain houses. The Debtor is not rejecting this contract as it is terminable at
         any time and it is current. Debtor is essentially allowing this lease to “ride through” her
         bankruptcy.




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6   MEANS FOR IMPLEMENTATION OF THE PLAN
    6.01 Feasibility - 11 U.S.C. §1129(a)(11) provides that in order for a Plan of reorganization to be
          confirmed, it must be demonstrated that the Plan of reorganization is not likely to be followed
          by a liquidation or the need for further reorganization of the Debtor or any successor of the
          Debtor under the Plan, unless the liquidation or reorganization is proposed in the Plan of
          reorganization. The Debtor is attempting to selling a significant portion of her assets to pay
          her creditors. Effectively this is a liquidating Chapter 11 Plan. The net sales proceeds from
          these sales will be distributed to creditors according to this Plan of reorganization. The
          Debtor asserts that the Plan is feasible because the Debtor can stay current on her secured
          obligations and will be able to liquidate her assets to repay her creditors in full.


    6.02 Taxes - The Debtor believes there are no adverse tax consequences to the Debtor or its
          creditors as a result of the bankruptcy and the provisions of the Plan, but all creditors and
          parties in interest should consult their respective accountants and/or tax attorneys. The
          Debtor will have to pay taxes that result from any profits she may receive from the sales of
          her properties. The Debtor is working to determine her basis in her property so that she can
          calculate the taxes that she will have to pay for any sale of property. The Debtor will not be
          able to calculate the precise tax burden until she sells a property and receives the final sale
          price.


          The Debtor has filed her currently due tax returns for 2014 and 2015. Debtor owes $46 for
          2015, and that amount will be paid after confirmation of this Plan. The Debtor has not filed
          her 2016 tax returns due to various delays in preparing her 2015 tax returns. The Debtor
          will have her 2016 taxes filed before the confirmation hearing in this case.


          The Debtor has consulted with her CPA and they intend to have a supplement to disclose
          her 2016 tax liability, her basis in her properties, and her estimated tax liability from the sale
          of her assets that will be noticed to the creditors and parties in interest no later than 14 days
          prior to the voting deadline set by the Court for the Plan.


    6.03 Overview -The success of the Plan, and any significant recovery to the creditors of the estate
          is dependent upon the successful marketing and consummation of sales of the Debtor's assets.


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         The Debtor has been marketing a significant portion of her assets and has received three
         offers. The Debtor intends to list additional property, both real and personal, to further
         expedite the sale of assets and payment to creditors. Debtor is also pursuing price reductions
         to more quickly liquidate her properties.


    6.04 Conditions Precedent to Confirmation - The Bankruptcy Court shall have signed, and the
         Clerk of the Bankruptcy Court shall have entered, an order granting approval of the
         Disclosure Statement and finding that it contains adequate information under section 1125
         of the Bankruptcy Code, and such order shall have become a Final Order. The Confirmation
         order shall have been signed by the Bankruptcy Court and entered by the Clerk of the
         Bankruptcy Court.

    6.05 Implementation on the Effective Date – This Plan shall not become effective and operative
         unless and until the Effective Date of Confirmation occurs. The Effective Date of
         Confirmation shall be the thirtieth (30th) day after the Order Confirming the Plan is entered
         by the Court. Payments and distributions under this Plan, unless otherwise set forth herein,
         shall commence on the substantial consummation date, so long as all conditions in section
         4.01 have been met.

7   GENERAL PROVISIONS
    7.01 Cram Down of Impaired Creditors Not Accepting Plan - Any class of creditors that is
         impaired, but not accepting the Plan by the requisite majority in number and two-thirds in
         amount, the proponent of this Plan requests the Court to find that the Plan does not
         discriminate unfairly and is fair and equitable with respect to each class of Claims or interest
         that is impaired under the Plan and that the Court confirm the Plan without such acceptances
         by the said impaired classes.


    7.02 Status of Case After Confirmation - Upon Substantial Consummation of this Plan, or after
         all conditions in paragraph 4.01 above are met, the Debtor will move to close this bankruptcy
         case, requesting that the Court retain jurisdiction relating to various matters contained in the
         Plan, including future asset sales. Upon the completion of payments called for under this
         Plan, the Debtor will move to re-open the case to request that the Court grant the Debtor a



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         discharge under 11 U.S.C. §1141(a)(5). Upon Confirmation of this Plan, the Debtor is
         exonerated from any and all Claims not filed by a creditor or claimant of interest against the
         Debtor before the Claims Bar Date previously set by this Court. The Debtor will, from and
         after Confirmation of this Plan, be indebted for, and obligated to pay the Claims, liabilities,
         and obligations set forth in Article III of this Plan, as such obligations may be allowed or
         modified under this Plan or through Claims objections and/or motions to value. Except as
         otherwise allowed by the Code, upon Confirmation and the continuing timely payments
         called for by the Plan, creditors are stayed from bringing actions against the Debtor to collect
         debts in a manner inconsistent with the terms of this Plan.


         The Debtor intends to, and retains the right as the trustee of the estate to address preferences,
         litigate, address and object to Claims, and attend to any other matters necessary to fully
         administer this estate. For the avoidance of doubt, the Debtor is reserving her rights under
         11 U.S.C. § 1123(b)(3)


         The Debtor will continue to file monthly operating reports, as required, until this case is
         closed.



    7.03 Absolute Priority Rule - The Absolute Priority Rule set out under 11 U.S.C. §
         1129(b)(2)(B)(ii) essentially says that a dissenting class of voting creditors must be paid in
         full before a debtor can receive or retain any property under a reorganization plan. The
         Debtor here proposes to repay her creditors in full which would allow the Debtor to retain
         her some of her assets, upon completing her proposed Plan. See generally In re Maharaj, 681
         F.3d 558 (4th Cir. 2012).

    7.04 The Debtor reserves the right to modify this Plan at any time before Confirmation or after
         Confirmation pursuant to 11 U.S.C. § 1127.



8   DISCHARGE
    8.01 The entry of an Order Confirming Plan does not by itself act as a discharge of the Debtor’s
         liabilities. Because the Debtor is an individual, the Debtor shall not receive a discharge until


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         all payments called for under the Plan have been made pursuant to 11 U.S.C.
         §1141(a)(5). The Debtor may elect to administratively close this case to reduce the Debtor’s
         reporting requirements and the administrative expenses to the US Trustee.

    8.02 Upon the Debtor's obtaining a Discharge after the payments called for herein, any defaults
         whatsoever with respect to any indebtedness or obligations of the Debtor existing prior to
         Confirmation shall be deemed to have been waived and shall not thereafter be a basis for the
         exercise by any person of any right or remedy whatsoever, as a creditor or claimant against
         the Debtor.
9   JURISDICTION
    9.01 Retention of Jurisdiction. The Court shall retain jurisdiction over the Debtor, its property,
         and all other parties appearing in the reorganization proceeding as provided by this Plan or
         by Order of the Court. The Court shall retain jurisdiction as provided in the Bankruptcy Code
         until the entry of the final decree closing the bankruptcy case. To the extent that it may be
         necessary, Debtor may request that the Court enter a final order closing the case but retaining
         jurisdiction for a limited purpose, including, but not limited to, presiding over any adversary
         proceeding or Claim objection that may be pending at the time of the closing of the main
         bankruptcy case or over future asset sales as contemplated in this Plan.

    9.02 Prosecution and Defense of Claims. The Debtor shall retain full power after the Substantial
         Consummation to prosecute and defend any causes of action or proceedings existing at
         Substantial Consummation by or against it, or resulting from the administration of the estate
         of the Debtor or resulting from any other Claim by or against the debtor or its assets, or
         arising prior to or existing before Substantial Consummation.

    9.03 Post-Confirmation Acts - The Debtor, and its agents, shall perform all acts necessary to
         complete and consummate this Plan, to include:
           1. Prosecution of all Claims against third parties by the Debtor and objections to Claims
               filed by third parties;
                   i. Execution and filing of all legal documents required; and
                  ii. Performing any and all functions required by the Code and this Plan.




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      2.   The Debtor, or her attorney, will serve as the Disbursing Agent for payment of all
           allowed Claims.
      3. Final Report. The Debtor shall cause to be filed with the Court an itemized list of all
           receipts of and disbursements by the Debtor after Confirmation. Such report must be
           approved by the Court before the final decree is issued discharging the Debtor in this
           reorganization proceeding. This is an individual Chapter 11 case, and as such, the final
           report will not be filed with the Court until the Debtor has either paid her five years of
           disposable income into the Plan or, as provided for herein, pays her creditors in full.
           Debtor will file a final report within 30 days of paying her creditors according to this
           Plan.




Connie Lynette Hardwick

_/s/ Connie Lynette Hardwick__
Connie Lynette Hardwick

Double J Farms, LLC


_/s/ Connie Lynette Hardwick__
By: Connie Lynette Hardwick
Its: Manager


/s/ Sean Markham
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                                  EXHIBIT A

                             PROJECTED BUDGET




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                                          Case 17-01130-jw                                         Doc 152                             Filed 11/21/17       Exhibit	A	    Entered 11/21/17 13:31:37                                                                                                         Desc Main
                                                                                                                                      Document                   Page 38 of 43
                                                                                                                                           Historical	and	Projected	Estimated	Budget




                                                                                                3/28/17-4/30/17                                May-17                     17-Jun                   17-Jul                17-Aug                   17-Sep                 17-Oct                  17-Nov                   Dec-17                    Jan-18                  Feb-18                  Mar-18
Beginning	Balance                                                                               $																43,643.31        $											4,405.83 $								1,118.31 $						18,447.98 $											 889.83 $								5,897.53                              $												413.51 $								2,311.28           $											 704.67 $								25,435.23 $										7,864.28               $								77,665.41
Income	
Rent                          Rent	Maple	Ridge                   $															1,005.68       $																		4,305.95       $											2,562.74       $								1,192.55       $																		-    $								4,163.04       $								1,997.94       $								3,630.65       $								3,009.00       $								3,000.00      $										3,000.00      $										3,000.00      $								3,000.00
                              Naylor	Payment	from	Tenant                                                                                                                                                                                                                             $											 504.00
                              HUD	Rent	Naylor                    $																		632.00      $																					 632.00     $														632.00      $											 632.00     $											 632.00     $											 632.00     $											 632.00     $												646.00     $											 646.00     $											 646.00 $													 646.00 $													 646.00 $													 646.00
Total	Rent                                                       $															1,637.68       $																		4,937.95       $											3,194.74       $								1,824.55       $											632.00      $								4,795.04       $								2,629.94       $								4,276.65       $								4,159.00       $						3,646.00 $							3,646.00 $							3,646.00 $							3,646.00
Disability/Pension	Payments   NYL	Pension                        $																		854.68      $																					 827.89     $														856.90      $											 860.55     $											 827.89     $											 864.47     $											 855.64     $												858.38     $											 858.38     $											 851.64     $													 851.64    $													 851.64    $													 851.64
                              Soc.	Sec.                          $															2,357.00       $																		2,357.00       $											2,357.00       $								2,357.00       $								2,357.00       $								2,357.00       $								2,357.00       $								2,357.00       $								2,357.00       $								2,357.00       $										2,357.00      $										2,357.00      $										2,357.00
                              Reliance	Standard                  $															3,232.00       $																		3,232.00       $											3,232.00       $								3,232.00       $								3,232.00       $								3,232.00       $								3,232.00       $								3,232.00       $								3,232.00       $								3,232.00      	$										3,232.00	    	$										3,232.00	    	$										3,232.00	
                              NY	Life	Disability                 $															4,000.00       $																		4,000.00       $											4,000.00       $								4,000.00       $								4,000.00       $								3,000.00       $								4,100.00       $								3,900.00       $								5,000.00       $								4,000.00       $										4,000.00      $										4,000.00      $										4,000.00
                              Investors	Life                     $															1,100.00       $																		1,100.00       $											1,100.00       $								1,100.00       $								1,100.00       $								1,100.00       $								1,100.00       $								1,100.00       $								1,100.00       $								1,100.00       $										1,100.00      $										1,100.00      $										1,100.00
Total	Disability/Pension                                         $												11,543.68         $																11,516.89        $								11,545.90         $						11,549.55        $						11,516.89        $						10,553.47        $						11,644.64        $						11,447.38        $						12,547.38        $						11,540.64       $					11,540.64 $					11,540.64 $					11,540.64
Other	income                  Residual	Income	BCBS               $																		267.92      $																					 378.29     $														353.15      $											 436.78     $											 353.15     $											 328.92     $											 377.38     $												353.15     $											 356.09     $											 356.09    $													 356.09 $													 356.09 $													 356.09
                              Residual	income	Unum               $															1,286.06       $																					 349.42     $														760.99      $											 827.01     $											 248.40     $											 251.81     $											 720.08     $								1,160.26       $											 700.50     $											 700.50    $													 700.50 $													 700.50 $													 700.50
                              X-fer	to	dip                       $															2,983.67       $																					 500.00
                              River	Neck	Acres	Income            $															1,000.00                                         $														200.00      $								1,025.00       $								1,600.00       $								9,150.00       $								9,900.00       $								1,075.00       $								5,500.00       $								5,500.00      $										5,500.00      $										5,500.00      $										5,500.00
                              X-fer	close	Double	J                                                                                                           $														77.48
Total	Other                                                      $												5,537.65 $															1,227.71 $								1,314.14                            $								2,366.27       $								2,201.55       $								9,730.73       $						10,997.46        $								2,588.41       $								6,556.60       $								6,556.60      $										6,556.60      $										6,556.60      $										6,556.60
Sale	Income                   Sale	of	118	Acres	Gresham          $																									-    $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              Richard	Cooke	Settlement           $																									-    $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $						135,000.00        $																				-
                              Repayment	From	Daughters           $																									-    $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $						25,000.00       $																				-   $																				-   $																				-

Total	Sales                                                  0 $																						-         $																									-       $																		-       $															-       $															-       $															-       $															-       $																-      $															-       $			25,000.00 $																	-               $			135,000.00 $																	-
Non-recurring	Payments        USDA                               $																									-    $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $												898.00     $																		-    $																		-   $																				-   $																				-   $																				-
                              Targe	Refund                       $																		779.15      $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              Safe	Co	Boat	refund                $																									-    $																												-    $									11,935.11        $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              Farm	Bureau	Claim                  $													53,810.67        $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $						13,925.86        $																		-    $																		-   $																				-   $																				-   $																				-
                              Pure	Insurance	Payment             $																									-    $																												-    $									15,000.00        $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              bank	reimburstment                 $																				30.00     $																												-    $																					-    $																		-    $																		-    $														70.00    $																		-    $														35.00    $																		-    $																		-   $																				-   $																				-   $																				-
                              city	of	NMB                        $																									-    $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																6.03   $																		-   $																				-   $																				-   $																				-
                              NYL	Refund                         $																									-    $																		3,935.78       $																					-    $						65,399.37        $								7,403.40       $						14,340.00        $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              refund                             $																				77.78     $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $											 134.89     $																		-   $																				-   $																				-   $																				-
                              Sevier	Co.	Gen	session	court       $																				20.00     $																					 450.00     $														500.00      $																		-    $											 550.00     $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              card	cash                          $																									-    $																										4.96   $																					-    $																		-    $														13.30    $																		-    $																		-    $														12.83    $																		-    $																		-   $																				-   $																				-   $																				-
                              bank	interest                      $																							0.93   $																										0.49   $																			0.22   $																0.15   $																0.15   $																0.09   $																0.07   $																0.07   $																		-    $																		-   $																				-   $																				-   $																				-
                              Kids                               $															3,150.00       $																					 500.00     $																					-    $																		-    $																		-    $																		-    $																		-    $								1,466.20       $																		-    $																		-   $																				-   $																				-   $																				-
Total	Non-Recurring                                              $										57,868.53 $															4,891.23 $						27,435.33 $			65,399.52 $						7,966.85 $			14,410.09 $													0.07 $				16,337.96 $									140.92 $															-                                                                                    $																	-      $																	-      $																	-
                              Total	Income                       $												76,587.54         $																22,573.78        $								43,490.11         $						81,139.89 $						22,317.29               $						39,489.33        $						25,272.11        $						34,650.40        $						23,403.90        $						46,743.24       $								21,743.24       $					 156,743.24 $								21,743.24
                                                                                                                                                             $						79,739.37

Expenses
Property                                                                                                                                        May-17                    17-Jun                    17-Jul               17-Aug                   17-Sep                 17-Oct                  17-Nov                   Dec-17                    Jan-18                  Feb-18                  Mar-18
2804	N	Ocean	Blvd             Mtg	First	Reliance                 $																									-                             $											922.50
                                                                                                $																		6,100.00                                  $						16,450.00        $								4,677.14       $								6,500.00       $								5,834.38       $								5,653.60       $															-       $																-     $																	-      $																	-      $																	-
                              santee	cooper                      $																									-                             $																	 -
                                                                                                $																					 128.42                                $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              City	of	NMB                        $																									-                             $													 46.35
                                                                                                $																					 125.66                                $																		-    $											 132.01     $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
                              Pheonix	enviromental               $																									-                             $								2,170.00
                                                                                                $																												-                               $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
Total	2804	N	Ocean                                               $																						-       $															6,354.08 $								3,138.85                   $			16,450.00 $						4,809.15 $						6,500.00 $						5,834.38 $						5,653.60                                                                   $															-      $																	-      $																	-      $																	-
Tennseee	Rentals              Nancy	Pickelsimer                  $																									-    $																		1,230.00   $											1,210.92 $								1,210.92 $								1,210.92 $								1,210.92 $																		-                                $								1,210.92 $								2,421.84             $								1,210.92      $										1,210.92      $										1,210.92      $										1,210.92
                              mountain	grass                     $																									-                                  $														260.00 $											 390.00 $											 260.00 $											 260.00 $																		-                         $												260.00 $																		-        $																		-   $																				-   $																				-   $																				-
                              Repair	Rental	                     $																									-    $																					 240.00 $																					- $																		- $																		- $																		- $																		-                    $																		- $																		-       $																		-   $																				-   $																				-   $																				-
                              Tenn	Taxes                         $																									-                                                                                                                                                                                                                                                                 $										1,393.00
Total	Tenn.	Rental                                               $																						-       $															1,470.00 $								1,470.92 $						1,600.92 $						1,470.92 $						1,470.92 $															-                                                 $						1,470.92 $						2,421.84 $						1,210.92 $							1,210.92 $							2,603.92 $							1,210.92
4277	Joyner	                  JP	Morgan                          $																									-    $																		2,726.00       $											2,726.61       $								2,726.61       $								2,726.61       $								2,726.81       $																		-    $								5,453.63       $								2,726.61       $								2,726.61      $										2,726.61      $										2,726.61      $										2,726.61
                              2nd	Mtg	House                      $																									-    $																					 835.13     $														835.13      $																		-    $											 865.00     $																		-    $																		-    $																		-    $											 835.13     $											 835.13    $													 835.13    $													 835.13    $													 835.13
                              home	maint.	                       $															2,000.00       $																					 125.00     $														548.98      $								1,890.59       $														39.28    $								3,511.12       $																		-    $								1,025.00       $											 150.00     $											 150.00    $													 150.00    $													 150.00    $													 150.00
                              Home	Taxes                         $																									-    $																												-    $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $										1,594.04      $																				-   $																				-
Total	Home                                                       $												2,000.00 $															3,686.13 $								4,110.72 $						4,617.20 $						3,630.89 $						6,237.93 $															-                                                          $						6,478.63 $						3,711.74 $						3,711.74 $							5,305.78 $							3,711.74 $							3,711.74
                              taxes                              $																									- $																												-       $																					-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $										6,873.02      $																				-   $																				-
1100	Acres	Florence           repairs                            $																									- $																												-       $																					-    $																		-    $								2,134.16                                                       $								2,606.54       $																		-    $																		-   $																				-   $																				-   $																				-
                              arbor	one                                                                        $						17,683.84
                                                                 $													15,439.42 $																		2,169.10                                         $																		-    $																		-    $																		-    $																		-    $																		-    $																		-    $																		-   $																				-   $																				-   $																				-
Total	Florence                                                   $										15,439.42 $															2,169.10 $						17,683.84 $															-                                    $						2,134.16 $															-               $															-       $						2,606.54 $															-               $															-      $							6,873.02 $																	-              $																	-
1641	Quail	Trail              Abb	Mortgage                       $															2,151.00       $																												-    $											2,151.00 $								2,151.00 $																		-   $								2,151.00 $								2,151.00                          $																		- $																		- $																		-         $																				-   $																				-   $																				-
                              santee	grass                       $																									-    $																												-    $														250.00 $											 125.00 $											 125.00 $											 125.00 $																		-                     $												125.00 $											 125.00 $																		-           $																				-   $																				-   $																				-




                                                                                                                                                                                 Page	1	of	4
                                          Case 17-01130-jw                                       Doc 152                            Filed 11/21/17       Exhibit	A	    Entered 11/21/17 13:31:37                        Desc Main
                                                                                                                                   Document                   Page 39 of 43
                                                                                                                                        Historical	and	Projected	Estimated	Budget




                                                                                Apr-18                  May-18                     Jun-18                    Jul-18                  Aug-18                   Sep-18
Beginning	Balance                                                $								26,424.73 $								14,657.97 $								14,309.36 $							 13,084.29 $								11,780.80 $								10,952.81
Income	
Rent                          Rent	Maple	Ridge                   $								3,000.00 $								3,000.00 $								3,000.00 $							3,000.00 $								3,000.00 $								3,000.00
                              Naylor	Payment	from	Tenant
                              HUD	Rent	Naylor                    $													 646.00 $													 646.00 $													 646.00 $													646.00 $													 646.00 $													 646.00
Total	Rent                                                       $							3,646.00 $							3,646.00 $							3,646.00 $							3,646.00 $							3,646.00 $							3,646.00
Disability/Pension	Payments   NYL	Pension                        $													 851.64     $													 851.64    $													 851.64    $													851.64      $													 851.64    $													 851.64
                              Soc.	Sec.                          $										2,357.00       $										2,357.00      $										2,357.00      $										2,357.00       $										2,357.00      $										2,357.00
                              Reliance	Standard                 	$										3,232.00	     	$										3,232.00	    	$										3,232.00	    	$									3,232.00	      	$										3,232.00	    	$										3,232.00	
                              NY	Life	Disability                 $										4,000.00       $										4,000.00      $										4,000.00      $										4,000.00       $										4,000.00      $										4,000.00
                              Investors	Life                     $										1,100.00       $										1,100.00      $										1,100.00      $										1,100.00       $										1,100.00      $										1,100.00
Total	Disability/Pension                                         $					11,540.64 $					11,540.64 $					11,540.64 $					11,540.64 $					11,540.64 $					11,540.64
Other	income                  Residual	Income	BCBS               $													 356.09 $													 356.09 $													 356.09 $													356.09 $													 356.09 $													 356.09
                              Residual	income	Unum               $													 700.50 $													 700.50 $													 700.50 $													700.50 $													 700.50 $													 700.50
                              X-fer	to	dip
                              River	Neck	Acres	Income            $										5,500.00      $										5,500.00      $										5,500.00      $										5,500.00       $										5,500.00      $										5,500.00
                              X-fer	close	Double	J
Total	Other                                                      $										6,556.60      $										6,556.60      $										6,556.60      $									 6,556.60       $										6,556.60      $										6,556.60
Sale	Income                   Sale	of	118	Acres	Gresham          $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Richard	Cooke	Settlement           $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Repayment	From	Daughters           $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-

Total	Sales                                                  0 $																	-        $																	-      $																	-      $																	-       $																	-      $																	-
Non-recurring	Payments        USDA                               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Targe	Refund                       $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Safe	Co	Boat	refund                $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Farm	Bureau	Claim                  $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Pure	Insurance	Payment             $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              bank	reimburstment                 $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              city	of	NMB                        $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              NYL	Refund                         $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              refund                             $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Sevier	Co.	Gen	session	court       $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              card	cash                          $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              bank	interest                      $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Kids                               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Non-Recurring                                              $																	-      $																	-      $																	-      $																	-       $																	-      $																	-
                              Total	Income                       $								21,743.24       $								21,743.24       $								21,743.24       $							21,743.24         $								21,743.24       $								21,743.24


Expenses
Property                                                                        Apr-18                  May-18                    Jun-18                     Jul-18                  Aug-18                   Sep-18
2804	N	Ocean	Blvd             Mtg	First	Reliance                 $																	-      $																	-      $																	-      $																	-       $																	-      $																	-
                              santee	cooper                      $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              City	of	NMB                        $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              Pheonix	enviromental               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	2804	N	Ocean                                               $																	-      $																	-      $																	-      $																	-       $																	-      $																	-
Tennseee	Rentals              Nancy	Pickelsimer                  $										1,210.92 $										1,210.92 $										1,210.92 $										1,210.92 $										1,210.92 $										1,210.92
                              mountain	grass                     $													 260.00 $													 260.00 $													 260.00 $													260.00 $													 260.00 $													 260.00
                              Repair	Rental	                     $																				- $																				- $																				- $																			 - $																				- $																				-
                              Tenn	Taxes
Total	Tenn.	Rental                                               $							1,470.92 $							1,470.92 $							1,470.92 $							1,470.92 $							1,470.92 $							1,470.92
4277	Joyner	                  JP	Morgan                          $										2,726.61      $										2,726.61      $										2,726.61      $										2,726.61       $										2,726.61      $										2,726.61
                              2nd	Mtg	House                      $													 835.13    $													 835.13    $													 835.13    $													835.13      $													 835.13    $													 835.13
                              home	maint.	                       $													 150.00    $													 150.00    $													 150.00    $													150.00      $													 150.00    $													 150.00
                              Home	Taxes                         $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Home                                                       $							3,711.74 $							3,711.74 $							3,711.74 $							3,711.74 $							3,711.74 $							3,711.74
                              taxes                              $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
1100	Acres	Florence           repairs                            $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                              arbor	one                          $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Florence                                                   $																	-      $																	-      $																	-      $																	-       $																	-      $																	-
1641	Quail	Trail              Abb	Mortgage                       $																				- $																				- $																				- $																			 - $																				- $																				-
                              santee	grass                       $													 125.00 $													 125.00 $													 125.00 $													125.00 $													 125.00 $													 125.00




                                                                                                                                                                         Page	2	of	4
                                            Case 17-01130-jw                                          Doc 152                             Filed 11/21/17       Exhibit	A	    Entered 11/21/17 13:31:37                                                                                                     Desc Main
                                                                                                                                         Document                   Page 40 of 43
                                                                                                                                              Historical	and	Projected	Estimated	Budget




                                                                                                   3/28/17-4/30/17                                May-17                    17-Jun                   17-Jul                17-Aug                  17-Sep                 17-Oct                17-Nov                  Dec-17                    Jan-18                  Feb-18                  Mar-18
                                Taxes                               $																									-    $																												-    $																					-   $																		-    $																		-    $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
Total	Quail                                                         $												2,151.00 $																									-                $								2,401.00 $						2,276.00 $									125.00 $						2,276.00 $						2,151.00 $									125.00 $									125.00 $															-                                                       $																	-      $																	-      $																	-
34th	Ave                        Grass                               $																									-    $																												-    $																70.00 $																		-  $											 140.00 $														70.00 $														70.00 $														70.00 $																		-                  $																		-   $																				-   $																				-   $																				-
                                CITY	OF	NMB                         $																									-    $																												-    $																46.35 $											 117.42 $											 127.38 $																		-    $																		- $																		- $																		-                 $																		-   $																				-   $																				-   $																				-
                                Taxes                               $																									-    $																												-    $																					- $																		- $																		- $																		- $																		- $																		- $																		-                 $																		-   $										3,324.89      $																				-   $																				-
Total	34th                                                          $																						-       $																									-       $											116.35 $									117.42 $									267.38 $											70.00 $											70.00 $												70.00 $															-                                         $															-      $																	-      $																	-      $																	-
1200	Naylor                     Repairs                             $																									-    $																												-    $																	 - $																		- $								1,411.29 $											 491.31 $											 560.52 $																		- $																		-                         $																		-   $																				-   $																				-   $																				-
                                taxes                               $																									-    $																												-    $																					-   $																		-    $																		-    $																		-   $																		-   $																		-   $																		-   $																		-   $										1,350.77      $																				-   $																				-
Total	Naylor                                                        $																						-       $																									-       $																		-      $															-       $						1,411.29 $									491.31 $									560.52 $																-                         $															-      $															-      $							1,350.77 $																	-              $																	-
Vehicle	and	Personal	Property   Conway	National                     $															7,587.50       $																		2,291.63       $											3,719.33      $								3,772.47       $								3,772.47       $								3,772.49      $								3,000.00      $								3,739.03      $								3,693.00      $											 991.00    $													 991.00    $													 991.00    $													 991.00
                                ABB                                 $															1,200.00       $																												-    $																					-   $								3,600.00       $																		-    $											 858.38    $								1,200.00      $								1,200.00      $								1,200.00      $								1,200.00      $										1,200.00      $										1,200.00      $										1,200.00
                                The	Citizens	Bank                   $															2,769.04       $																												-    $																					-   $								5,183.43       $																		-    $																		-   $								2,769.04      $																		-   $																		-   $								2,769.04      $										2,769.04      $										2,769.04      $										2,769.04
                                The	Citizens	Bank	Cure	Payments     $																									-    $																												-    $																					-   $																		-    $																		-    $																		-   $																		-   $																		-   $																		-   $																		-   $																				-           $1,249.68                $1,249.68
                                 Citizens	Bank	NA                   $																									-    $																					 783.00     $																					-   $																		-    $								2,370.00       $											 790.00    $																		-   $																		-   $																		-   $											 783.00    $													 783.00    $																				-   $																				-
                                 ALLY                               $																									-    $																					 529.92     $																					-   $																		-    $								1,294.26       $											 630.23    $																		-   $																		-   $								1,958.29      $											 630.23    $													 630.23    $																				-   $																				-
Total	Personal	Prop                                                 $										11,556.54 $															3,604.55 $								3,719.33 $			12,555.90 $						7,436.73 $						6,051.10 $						6,969.04 $						4,939.03 $						6,851.29 $						6,373.27 $							6,373.27 $							6,209.72 $							6,209.72
Insruance                       House	insurance                     $															5,294.65 $																												- $																					- $																		- $								5,294.65 $																		- $								2,589.87 $																		- $								1,385.66 $											 692.83 $													 692.83 $													 692.83 $											692.83
                                Farm	Insurance                      $																									-    $																												-    $																					-   $																		-    $																		-    $																		-   $								4,992.88      $																		-   $								2,004.70      $								1,909.24      $										1,909.24      $										1,909.24      $										1,909.24
                                Other	Insurance                     $															6,138.99       $																					 387.85     $																					-   $								2,133.07       $								1,452.66       $								1,063.95      $																		-   $												237.70    $																		-   $																		-   $																				-   $																				-   $																				-
                                NYL                                 $																									-    $																		4,518.44       $														472.18     $																		-    $														48.00    $																		-   $																		-   $												879.99    $																		-   $																		-   $																				-   $																				-   $																				-
                                Medical	Insurance                   $																									-    $																												-    $														382.75     $											 382.75     $											 382.75     $											 382.75    $											 382.75    $												382.75    $											 382.75    $											 382.75    $													 382.75    $													 382.75    $													 382.75
                                Farm	Bureau                         $																									-    $																												-    $											1,813.73      $								2,883.91       $														45.00    $											 174.51    $											 386.58    $								1,757.96      $											 174.51    $											 386.58    $																				-   $													 174.51    $													 386.58
Total	Ins.                                                          $										11,433.64 $															4,906.29 $								2,668.66                            $						5,399.73 $						7,223.06 $						1,621.21 $						8,352.08 $						3,258.40 $						3,947.62 $						3,371.40 $							2,984.82 $							3,159.33 $							3,371.40
Other	Expenses                  Utilties                            $															4,094.74 $																		6,639.16 $								3,327.69                     $								8,703.50       $								3,720.46       $								3,406.15      $								3,308.89      $								5,587.33      $								4,956.17      $								4,956.17      $										4,956.17      $										4,956.17      $										4,956.17
                                Auto                                $																									- $																								65.00 $								2,186.82               $																		-    $											 175.58     $											 922.08    $																		-   $																		-   $											 418.69    $											 418.69    $													 418.69    $													 418.69    $													 418.69
                                Papa	Joe                            $																									- $																												- $											173.00              $																		-    $																		-    $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                Kids                                $															2,650.00       $																					 500.00     $											3,233.86      $								1,031.28       $											 700.00     $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                Food	and	Grocery	                   $															1,018.29       $																		1,181.64       $														827.01     $								1,303.78       $								1,725.04       $								1,505.87      $											 580.96                           $								1,000.00      $								1,000.00      $										1,000.00      $										1,000.00      $										1,000.00
                                gas                                 $																		174.60      $																					 198.72     $														268.27     $											 468.25     $											 352.51     $														74.86   $											 214.66    $												328.39    $											 350.00    $											 350.00    $													 350.00    $													 350.00    $													 350.00
                                Cash                                $																									-    $																					 500.00     $																					-   $											 200.00     $																		-    $																		-   $																		-   $												204.65    $																		-   $																		-   $																				-   $																				-   $																				-
                                Temp.	Help                          $																		960.00      $																					 870.00     $																					-   $								2,670.00       $											 405.00     $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                bank	fee                            $																							4.00   $																										4.00   $																15.66    $														17.66    $																		-    $														70.00   $																		-   $														35.00   $																		-   $																		-   $																				-   $																				-   $																				-
                                Transfers                           $																									-    $																												-    $																					-   $								3,000.00       $																		-    $								2,500.00      $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                surveyor                            $																									-    $																												-    $																					-   $																		-    $											 500.00     $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                RNA                                 $																									-    $																		2,400.00       $																					-   $																		-    $																		-    $											 200.00    $																		-   $												900.00    $																		-   $																		-   $																				-   $																				-   $																				-
                                recording	maps                      $																									-    $																												-    $																					-   $																		-    $														30.00    $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                Personal                            $																		397.25      $																								29.60    $																					-   $											 526.77     $								2,385.11       $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                odp	payment                         $																		232.93      $																					 243.09     $																					-   $																		-    $																		-    $																		-   $																		-   $																		-   $																		-   $																		-   $																				-   $																				-   $																				-
                                office	and	postage                  $																		172.51      $																					 281.66     $																85.25    $														30.32    $											 117.27     $											 246.00    $														49.00   $														19.44   $											 125.18    $											 125.18    $													 125.18    $													 125.18    $													 125.18
                                medical	                            $																		549.84      $																					 184.35     $														989.40     $											 928.61     $											 280.89     $											 513.20    $											 415.60    $												100.70    $											 495.32    $											 495.32    $													 495.32    $													 495.32    $													 495.32
Other	Expenses                                                      $										10,254.16 $													13,097.22 $						11,106.96 $			18,880.17 $			10,391.86 $						9,438.16 $						4,569.11 $						7,175.51 $						7,345.35 $						7,345.35 $							7,345.35 $							7,345.35 $							7,345.35
Taxes                           Taxes                               $																									-    $																												-
                                                                                                                               $																36.00          $											 737.88     $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $										6,454.22
                                                                                                                                                                                                                                                                                                                       $																				-              $																				-
                                various	taxes                       $																									-    $																												-
                                                                                                                               $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $													 441.03
                                                                                                                                                                                                                                                                                                                       $																				-              $																				-
                                IRS                                 $																									-    $																												-
                                                                                                                               $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $																46.00
                                Cure	Payment	on	Taxes	to	Horry      $																									-    $																												-
                                                                                                                               $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $													 479.17               $													 479.17
                                Cure	Payment	on	Taxes	to	Florence   $																									-    $																												-
                                                                                                                               $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $													 655.61               $													 655.61
                                Auto	Taxes                          $																									-    $																												-
                                                                                                                               $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $											 607.66    $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $													 631.27
Total	Taxes                                                                                                                    $																36.00          $											737.88      $																		-    $																		-   $																		- $																		-     $											607.66     $																		-   $										6,895.25
                                                                                                                                                                                                                                                                                                                       $										1,134.78                 $										1,812.05
                                                                                                                                             May-17                          17-Jun                   17-Jul                17-Aug                 17-Sep                17-Oct                  17-Nov                 Dec-17        Mar-18      Jan-18                   Feb-18
                                legal	fee                           $																		129.00 $																												-   $																					-         $																		-    $																		-    $																		-                        $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $																				-
Professional	Fees               Debtor's	Attorney                   $																									- $																												- $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $								50,000.00
                                Crowley	CPA                         $																									- $																												- $																					-         $																		-    $																		-    $																		-   $								2,250.00 $																		-        $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $										3,000.00
                                Lindsay	CPA                         $																				25.00 $																												-  $																					-         $																		-    $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $										9,100.00
                                Bobby	Page	apprasial	                                           $																												- $																					-         $								1,175.00       $																		-    $																		-   $																		- $																		-     $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $																				-
Total	Professional	Fees                                             $																		154.00 $																												-   $																					-         $																		-    $																		-    $																		-   $								2,250.00 $																		-        $																		-   $																		-   $																				-
                                                                                                                                                                                                                                                                                                                       $																				-              $								62,100.00
SubTotal                                                            $													52,988.76 $																35,287.37 $									46,452.63                     $						62,635.22        $						38,900.44        $						34,156.63       $						30,756.13 $						31,777.63             $						25,010.50       $						22,012.68       $								38,339.18
                                                                                                                                                                                                                                                                                                                       $								22,983.92                  $								86,942.12
Quarterly	Subtotal                                                  $																									- $																												- $																					-         $																		-    $																		-    $																		-   $																		- $						96,690.39         $																		-   $																		-   $								85,362.37
                                                                                                                                                                                                                                                                                                                       $																				-              $																				-
                                Total	calculated	US	Trustee	fee     $																									- $																					 650.00 $														325.00            $																		-    $											 975.00     $											 325.00    $																		- $												975.00      $																		-   $																		-   $													 975.00
                                                                                                                                                                                                                                                                                                                       $																				-              $																				-
                                Unsecured	Payment                                                                                                                                                                                                                                                                      $								50,000.00
                                Expense	Total                       $													52,988.76 $																35,937.37 $									46,777.63 $						62,635.22 $						39,875.44 $						34,481.63 $						30,756.13 $						32,752.63 $						25,010.50 $						22,012.68 $								39,314.18 $								86,942.12 $								72,983.92
                                Net	Income                          $															4,879.77 $															(13,363.59) $										(3,287.52) $						18,504.67 $				(17,558.15) $								5,007.70 $							(5,484.02) $								1,897.77 $							(1,606.61) $						24,730.55 $						(17,570.95) $								69,801.12 $						(51,240.68)
                                Ending	Balance                                               $																		4,405.00 $											1,118.31 $						19,622.98 $											 889.83 $								5,897.53 $											 413.51 $								2,311.28 $											 704.67 $						25,435.23 $										7,864.28 $								77,665.41 $								26,424.73




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                                                                                                                                           Historical	and	Projected	Estimated	Budget




                                                                                   Apr-18                  May-18                     Jun-18                    Jul-18                  Aug-18                   Sep-18
                                Taxes                               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Quail                                                         $											125.00 $											125.00 $											125.00 $										125.00 $											125.00 $											125.00
34th	Ave                        Grass                               $																70.00 $																70.00 $																70.00 $															70.00 $																70.00 $																70.00
                                CITY	OF	NMB                         $																				- $																				- $																				- $																			 - $																				- $																				-
                                Taxes                               $																				- $																				- $																				- $																			 - $																				- $																				-
Total	34th                                                          $													70.00 $													70.00 $													70.00 $													70.00 $													70.00 $													70.00
1200	Naylor                     Repairs                             $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                taxes                               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Naylor                                                        $																	-      $																	-      $																	-      $																	-       $																	-      $																	-
Vehicle	and	Personal	Property   Conway	National                     $													 991.00    $													 991.00    $													 991.00    $													991.00      $													 991.00    $													 991.00
                                ABB                                 $										1,200.00      $										1,200.00      $										1,200.00      $										1,200.00       $										1,200.00      $										1,200.00
                                The	Citizens	Bank                   $										2,769.04      $										2,769.04      $										2,769.04      $										2,769.04       $										2,769.04      $										2,769.04
                                The	Citizens	Bank	Cure	Payments             $1,249.68                $1,249.68                $1,249.68                $1,249.68                 $1,249.68                $1,249.68
                                 Citizens	Bank	NA                   $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                 ALLY                               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Personal	Prop                                                 $							6,209.72 $							6,209.72 $							6,209.72 $							6,209.72 $							6,209.72 $							6,209.72
Insruance                       House	insurance                     $											692.83 $											692.83 $											692.83 $											692.83 $											692.83 $											692.83
                                Farm	Insurance                      $										1,909.24      $										1,909.02      $										1,909.24      $										1,909.24       $										1,909.24      $										1,909.24
                                Other	Insurance                     $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                NYL                                 $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Medical	Insurance                   $													 382.75    $													 382.75    $													 382.75    $													382.75      $													 382.75    $													 382.75
                                Farm	Bureau                         $																				-   $													 174.51    $													 386.58    $																			 -    $													 174.51    $													 386.58
Total	Ins.                                                          $							2,984.82 $							3,159.11 $							3,371.40 $							2,984.82 $							3,159.33 $							3,371.40
Other	Expenses                  Utilties                            $										4,956.17      $										4,956.17      $										4,956.17      $										4,956.17       $										4,956.17      $										4,956.17
                                Auto                                $													 418.69    $													 418.69    $													 418.69    $													418.69      $													 418.69    $													 418.69
                                Papa	Joe                            $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Kids                                $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Food	and	Grocery	                   $										1,000.00      $										1,000.00      $										1,000.00      $										1,000.00       $										1,000.00      $										1,000.00
                                gas                                 $													 350.00    $													 350.00    $													 350.00    $													350.00      $													 350.00    $													 350.00
                                Cash                                $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Temp.	Help                          $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                bank	fee                            $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Transfers                           $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                surveyor                            $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                RNA                                 $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                recording	maps                      $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Personal                            $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                odp	payment                         $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                office	and	postage                  $													 125.18    $													 125.18    $													 125.18    $													125.18      $													 125.18    $													 125.18
                                medical	                            $													 495.32    $													 495.32    $													 495.32    $													495.32      $													 495.32    $													 495.32
Other	Expenses                                                      $							7,345.35 $							7,345.35 $							7,345.35 $							7,345.35 $							7,345.35 $							7,345.35
Taxes                           Taxes                               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                various	taxes                       $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                IRS                                 $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Cure	Payment	on	Taxes	to	Horry      $										4,766.43      $																				-   $													 479.17    $													479.17      $													 479.17    $													 479.17
                                Cure	Payment	on	Taxes	to	Florence   $										5,851.01      $																				-   $																				-   $																			 -    $																				-   $																				-
                                Auto	Taxes                          $																				-   $																				-   $													 185.00    $																			 -    $																				-   $																				-
Total	Taxes                                                         $								10,617.44       $																				-   $													664.17     $													479.17      $													479.17     $													479.17
                                                                                    Apr-18                 May-18                     Jun-18                   Jul-18                   Aug-18                    Sep-18
                                legal	fee                           $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Professional	Fees               Debtor's	Attorney                   $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Crowley	CPA                         $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Lindsay	CPA                         $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
                                Bobby	Page	apprasial	               $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
Total	Professional	Fees                                             $																				-   $																				-   $																				-   $																			 -    $																				-   $																				-
SubTotal                                                            $								32,535.00       $								22,091.85       $								22,968.31       $							 22,396.73        $								22,571.24       $								22,783.31
Quarterly	Subtotal                                                  $						142,461.03        $																				-   $																				-   $							 67,456.88        $																				-   $																				-
                                Total	calculated	US	Trustee	fee     $													 975.00    $																				-   $																				-   $													650.00      $																				-   $																				-
                                Unsecured	Payment
                                Expense	Total                       $								33,510.00 $								22,091.85 $								22,968.31 $							 23,046.73 $								22,571.24 $								22,783.31
                                Net	Income                          $						(11,766.76) $												(348.61) $									(1,225.07) $								(1,303.49) $												(828.00) $									(1,040.07)
                                Ending	Balance                      $								14,657.97 $								14,309.36 $								13,084.29 $							 11,780.80 $								10,952.81 $										9,912.74




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                                  EXHIBIT B

                       LIQUIDATION ANALYSIS




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                                                                                                          Liquidation	Analysis


Liquidation	analysis                                                                                                                                                                                                                                                            Chapter	7                   Chapter	7

                                                                              	Estimated	Amounts	in	                                                                                                                                                                            Slow	Sale	Max	              Quick	sale	
                                                                              Chapter	11	                                                                                                                                                                                       return                      minimum	return
Non-Exempt	Real	Property                                                      	$																4,220,295.19	                                                                                                                                                                    $						4,220,295.19        $		2,110,147.60
Non-Exempt	Personal	Property                                                  	$																				490,305.00	                                                                                                                                                                  $									490,305.00       $					245,152.50
Total	Non	Exempt	Assets                                                       	$																4,710,600.19	                                                                                                                                                                    $						4,710,600.19        $		2,355,300.10

Chapter	7	Trustee	Fees                                                        	$																																					-			                                                                                                                                                       $									156,876.74 $					106,876.92
Chapter	7	Professional	Fees                                                   	$																																					-			                                                                                                                                                       $									350,000.00 $								75,000.00
Chapter	11	Realtor	Fees                                                       	$																				146,247.49	
                                                                                                                                      	Secured	Claim	                                                                    	Monthly	Payments	
                                                                                                              	Claims	to	be	paid	 Remaining	after	                                                    	Budgeted	Payment	 to	be	made	by	
Classification         Creditor	Name               Plan	Treatment             	Debtor's	Obligation	           by	Sale	or	Other	       Cure	                                                           by	Debtor	         others	
Class	1	Claim          ArborOne,	ACA               Pay	though	Sale            	$																1,390,946.81	 	$								1,390,946.81	                                                                                $0	                $0	                                     $						1,599,588.83 $		1,390,946.81
                                                   Satisfied	through	
Class	2	Claim          First	Reliance	Bank         Settlement	w/	R	Cooke      	$																				399,103.28	 	$												399,103.28	                                                             	$																5,633.60	 	$																												-			            $									391,000.00 $					363,630.00
                                                   Cure	and	paid	by	
Class	3	Claim          Anderson	Brothers	Bank      Daughters                  	$																				232,358.63	             	$																												-			   	$												232,358.63	            	$																												-			   	$																2,151.00	          $									267,212.42        $					216,093.53
Class	4	Claim          NBSC                        Cure	and	Maintain          	$																						52,712.00	            	$																												-			   	$														52,712.00	           	$																			835.13	         	$																												-			   $											60,618.80       $								49,022.16
Class	5	Claim          Conway	National	Bank        Cure	and	Maintain          	$																						51,979.00	            	$																												-			   	$														51,979.00	           	$																			416.66	         	$																												-			   $											59,775.85       $								48,340.47
Class	6	Claim          Conway	National	Bank        Cure	and	Maintain          	$																						20,015.00	            	$																												-			   	$																												-			   	$																			490.88	         	$																												-			   $											23,017.25       $								18,613.95
                                                   Cure	and	paid	by	
Class	7	Claim          Conway	National	Bank        Daughters                  	$																						18,722.00	 	$																												-			 	$																												-			 	$																												-			 	$																			342.81	                          $											21,530.30 $								17,411.46
                                                   Cure	and	paid	by	
Class	8	Claim          Conway	National	Bank        Daughters                  	$																						16,653.00	 	$																												-			 	$																												-			 	$																			784.37	 	$																			784.37	                                $											19,150.95 $								15,487.29
                                                   Satisfied	through	
Class	9	Claim          Conway	National	Bank        Settlement	w/	R	Cooke      	$																						13,624.65	 	$														13,624.65	 	$																												-			 	$																			832.01	 	$																												-			                                  $											15,667.60 $								12,670.32
                                                   satisfied	through	
Class	10	Claim         Conway	National	Bank        Settlement	w/	R	Cooke      	$																						24,237.89	            	$														24,237.89	           	$																												-			   	$																			429.66	 	$																												-			           $											27,872.55       $								22,540.41
Class	11	Claim         Nancy	Pickelsimer           Cure	and	Maintain          	$																						45,583.00	            	$																												-			   	$														45,583.00	           	$																1,210.92	 	$																												-			            $											52,420.45       $								42,392.19
Class	12	Claim         The	Citizens	Bank           Cure	and	Maintain          	$																						28,853.00	            	$																												-			   	$														28,853.00	           	$																2,769.04	 	$																												-			            $											33,180.95       $								26,833.29
Class	13	Claim         The	Citizens	Bank           Cure	and	Maintain          	$																						34,581.00	            	$																												-			   	$														34,581.00	                                        	$																												-			           $											39,768.15       $								32,160.33
Class	14	Claim         JP	Morgan	Chase	Bank        Cure	and	Maintain          	$																						42,943.00	            	$																												-			   	$														42,943.00	           	$																2,726.61	 	$																												-			            $											49,384.45       $								39,936.99
Class	15	Claim         Anderson	Brothers	Bank      Cure	and	Maintain          	$																						39,289.00	            	$																												-			   	$														39,289.00	           	$																1,200.00	 	$																												-			            $											45,182.35       $								36,538.77
                                                   Satisfied	through	
                                                   Settlement	w/	R	Cooke.		
Class	16	Claim         Horry	County	Treasure       Balance	paid	in	1	year     	$																						19,812.52	            	$														14,094.00	           	$																5,718.52	          	$																			476.54	         	$																												-			   $											22,791.85       $								21,196.42
Class	17	Claim         Citzens	Bank                Cure	and	Maintain          	$																								6,708.00	           	$																												-			   	$																6,708.00	          	$																			783.00	         	$																												-			   $													7,714.20      $										6,238.44
Class	18	Claim         Ally	Bank                   Cure	and	Maintain          	$																								5,706.00	           	$																												-			   	$																5,706.00	          	$																			630.23	         	$																												-			   $													6,561.90      $										5,306.58
Class	19	Claim         Florence	County             Pay	though	Sale            	$																								7,388.05	           	$																7,388.05	          	$																												-			   	$																												-			   	$																												-			   $													8,496.26      $										6,870.89
                                                   Cure	and	paid	by	
Class	20	Claim         Clarendon	County	Treasure   Daughters                  	$																								7,162.23	           	$																7,162.23	          	$																												-			   	$																												-			   	$																												-			   $													8,236.56      $										6,660.87
Class	21	Claim         Adminstrative	claims        Pay	though	Sale            	$																						70,000.00	            	$														70,000.00	           	$																												-			   	$																												-			   	$																												-			   $																							-   $																				-
Class	22	Claim         Priority	Claims             Pay                        	$																														46.00	        	$																						46.00	       	$																												-			   	$																												-			   	$																												-			   $																			52.90   $															42.78
Class	23	Claim         Unsecured	Claims            Pay	though	Sale            	$																						50,000.00	            	$														50,000.00	           	$																												-			   	$																												-			   	$																												-			   $									150,000.00        $					363,630.00
                                                   Satisfied	through	
Class	24	Claims        Richard	Cooke               Settlement	w/	R	Cooke      	$																																					-			 	$																												-			 	$																												-			 	$																												-			 	$																												-			           $						1,500,000.00                0
Total	Claims                                                                  	$																2,578,424.06	 	$								1,976,602.91	 	$												546,431.15	 	$														19,218.65	 	$																3,278.18	                                                          $						4,409,224.58 $		2,742,563.95
Total	Secured                                                                 	$																2,458,378.06	
Net	Equity                                                                    	$																2,132,176.13	                                                                                                                                                                   $							(205,501.13) $				(569,140.77)



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